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                                  EXHIBIT 2

                       Avallone Deposition Transcript
     Case 15-01145
In re:
                        Doc 8199-2        Filed 07/31/18 Entered 07/31/18 18:13:03THOMAS
                                                                                    Desc AVALLONE
                                    Exhibit
Caesars Entertainment Operating Company, Inc. 2    Page 2 of 36                       January 10, 2018
                                                    Page 2                                                    Page 4
 1                UNITED STATES BANKRUPTCY COURT              1                            I N D E X
               FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                      EASTERN DIVISION                      2 TESTIMONY OF THOMAS AVALLONE
 3 In re:                               ) Chapter 11          3     Direct Examination by Ms. Lewis-Gruss      7
                                        )
 4 Caesars Entertainment Operating ) Case No. 15-01145        4 CERTIFICATE OF REPORTER                      140
   Company, Inc., et al.,               )
 5                                 ) Jointly Administered     5 CERTIFICATE OF OATH                          141
                                        )
 6                                      )                     6 ERRATA SHEET                                 142
 7 * * * * * * * * * * * * * * * * * * * * * * * * * * * *    7                         E X H I B I T S
 8                                                            8      Exhibit No. 54                            10
                                                                      (Notice of taking deposition)
 9 VIDEO-RECORDED                                             9
   DEPOSITION OF:           THOMAS AVALLONE                          Exhibit No. 55                            10
10                                                           10       (Whitebox's Notice of Deposition
   DATE TAKEN:             Wednesday, January 10, 2018                  of Earl Sandwich 30(b)(6)
11                                                           11
   TIME:                    9:36 a.m. - 2:42 p.m.                    Exhibit No. 56                           14
12                                                           12       (Thomas Avallone's LinkedIn page)
   PLACE:                 Fairfield Inn Suites Marriott
13                          8214 Universal Boulevard         13      Exhibit No. 57                           35
                            Orlando, Florida 32819                    (1/12/17 email string
14                                                           14        re: Sale of claims in Caesars/54%
   REPORTED BY:         LAURA J. LANDERMAN, RMR, CRR, FPR              Bates Nos. EARL000251-000257)
15                          Notary Public, State of          15
                            Florida at Large                         Exhibit No. 58                           50
16                                                           16       (1/12/17 email string from Rosenblum
                                                                       to Avallone re: Sale of Claim - Cowen
17                                                           17        Bates Nos. EARL000315-000325)
18                                                           18      Exhibit No. 59                           57
                                                                      (1/16/17 email from Rosenblum to
19                                                           19        Avallone re: Sale of Claim - Cowen
                                                                       Bates Nos. EARL000104-000115)
20                                                           20
                                                                     Exhibit No. 60                           67
21                                                           21       (1/17/17 email from Rosenblum to
                                                                       Avallone re: Sale of Claim - Cowen
22                                                           22        Bates Nos. EARL000061-000072)
23                                                           23
24                                                           24
25                                                           25

                                                    Page 3                                                    Page 5
 1    A P P E A R A N C E S:                             1                      E X H I B I T S   (cont'd)
 2          AYANNA LEWIS-GRUSS, ESQUIRE                  2           Exhibit No. 61                               73
            Orrick, Herrington & Sutcliffe, LLP                       (2/28/17 email from Avallone to
 3          51 West 52nd Street                          3             Rosenblum re: Sale of Claim - Cowen
            New York, New York 10019                                   Bates Nos. EARL000258-000261)
 4          alewisgruss@orrick.com                       4
            212-506-5000                                             Exhibit No. 62                           84
 5              and                                      5            (2/22/17 letter from Seyfried to
            DOUGLAS S. MINTZ, ESQUIRE                                  Avallone re: Caesars General Unsecured
 6          Orrick, Herrington & Sutcliffe, LLP          6             Trade Claims)
            Columbia Center
 7          1152 15th Street N.W.                        7           Exhibit No. 63                              102
            Washington, D.C. 20005                                    (6/16/17 email from Avallone to Ortega
 8          dmintz@orrick.com                            8             re: Caesars claim
            202-339-8400                                               Bates Nos. EARL000180-000182)
 9                                                       9
                  Appearing on behalf of the Whitebox                Exhibit No. 64                             130
10                 Advisors, LLC,                       10            (7/6/17 email from Hawkins to Avallone
                                                                       re: Cowen contacts - Bates Nos. EARL000027)
11          JEFFREY CHUBAK, ESQUIRE                     11
            Storch Amini, PC
12          140 East 45th Street -- 25th Floor          12
            New York, New York 10017
13          jchubak@storchamini.com                     13
            212-497-8247
14                                                      14
                 Appearing on behalf of the Respondent.
15                                                      15
      THE VIDEOGRAPHER: Shawn Lane with
16                         Barkley Reporting            16
17    ALSO PRESENT: Jeffrey Sirolly, Esquire            17
                       Deputy General Counsel with
18                     Earl Enterprises                 18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
25                                                      25


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 1         THE VIDEOGRAPHER: We are now on the record in                 1      Q And when did those depositions occur?
 2      the matter of In Re: Caesars Entertainment                       2      A One was about 20 years ago, and one was about
 3      Operating Company, Inc. Today's date is January                  3   five years ago.
 4      10th, 2018, and the time is 9:36 a.m. This is the                4      Q And what was the context of the deposition
 5      video-recorded deposition of Thomas Avallone being               5   that occurred about 20 years ago?
 6      taken at 8214 Universal Boulevard, Orlando,                      6      A Licensing matter.
 7      Florida. My name is Shawn Lane. I'm the camera                   7      Q And who -- what party did you appear on behalf
 8      operator. And our court reporter today is Laura                  8   of?
 9      Landerman. We're both here on behalf of Barkley                  9      A Plaintiff.
10      Reporting, 10350 Santa Monica Boulevard, Los                    10      Q Who was the plaintiff?
11      Angeles, California.                                            11      A Hard Rock Cafe.
12         Will counsel please introduce themselves for                 12      Q And with regard to the deposition that took
13      the record?                                                     13   place approximately five years ago, what was the subject
14         MS. LEWIS-GRUSS: My name is Ayanna                           14   matter of the dispute?
15      Lewis-Gruss of Orrick, Herrington & Sutcliffe, LLP.             15      A It was a malpractice claim against a law firm
16      I am here on behalf of Whitebox Advisors.                       16   in Minneapolis.
17         MR. CHUBAK: Jeffrey Chubak from Storch Amini,                17      Q And was that a personal malpractice claim that
18      PC, on behalf of Earl of Sandwich (Atlantic City),              18   you had?
19      LLC.                                                            19      A No. It was for one of our businesses.
20         MR. SIROLLY: Jeff Sirolly, deputy general                    20      Q Which business was it for?
21      counsel for Earl Enterprises.                                   21      A Buca, Inc.
22         MS. LEWIS-GRUSS: I'm going to add that I will                22      Q And when you say "our" business, who is the
23      also be joined by my colleague, Douglas S. Mintz,               23   our that you are referring to?
24      and when he joins, we can note that in the record,              24      A One of the businesses -- one of Robert Earl's
25      please.                                                         25   businesses.


                                                               Page 7                                                                   Page 9

 1          THE VIDEOGRAPHER: Will our court reporter                    1      Q So I'm going to -- you know, this is standard
 2       please swear in the witness?                                    2   deposition 101. You're probably familiar with it, but
 3          THE REPORTER: Please raise your right hand.                  3   I'm just going to explain a few things to you. So I'm
 4       Do you swear the testimony you're about to give                 4   going to be asking you questions today. You are
 5       will be the truth, the whole truth, and nothing but             5   required to answer them under oath. Do you understand
 6       the truth, so help you God?                                     6   that?
 7          THE WITNESS: I do.                                           7      A Yes.
 8                  DIRECT EXAMINATION                                   8      Q And you need to answer my questions unless you
 9    BY MS. LEWIS-GRUSS:                                                9   have a good-faith basis to believe that my questions
10       Q Good morning, Mr. Avallone.                                  10   call for privileged information. Do you understand
11       A Good morning.                                                11   that?
12       Q And is that the correct pronunciation of your                12      A Yes.
13    last name?                                                        13      Q So if you answer my question, I'm going to
14       A Avallone, yes.                                               14   assume that you understand my question. If you don't
15       Q Can you please state your full name for the                  15   understand my question, please let me know, so that we
16    record?                                                           16   can make sure the record is clear. If your attorney
17       A Thomas Avallone.                                             17   objects, you still have to answer the question unless
18       Q What is your business address?                               18   they instruct you not to answer based on the grounds of
19       A 4700 Millenia Boulevard, Suite 400, Orlando,                 19   privilege.
20    Florida 32839.                                                    20          So is there any reason you can't give full,
21       Q Have you ever had your deposition taken                      21   complete and accurate testimony today?
22    before?                                                           22      A No.
23       A Yes, I have.                                                 23      Q The court reporter, as you can see, is making
24       Q On how many occasions?                                       24   a typed transcript. For the sake of the transcript and
25       A Two or three.                                                25   the record, if you could wait until I finish my question


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 1     before you begin your answer. Thank you.                              1      Q You reviewed no communications internal to
 2            So do you understand that you are appearing at                 2   Earl?
 3     this deposition in both your personal capacity and as a               3      A I don't understand.
 4     corporate designee of Earl of Sandwich (Atlantic City)?               4      Q So you said you reviewed communications with
 5        A Yes.                                                             5   Cowen and representatives of Cowen, correct?
 6        Q What do you understand it to be that you are                     6      A Yes.
 7     here as a corporate designee?                                         7      Q Did you review communications with Robert
 8        A I'm answering the questions for Earl of                          8   Earl?
 9     Sandwich the entity.                                                  9      A Yes.
10        Q And do you understand that your answers will                    10      Q Did you review communications with anyone else
11     bind the entity?                                                     11   who is employed by or represents Earl of Sandwich or any
12        A Yes.                                                            12   related entity?
13         (Avallone Exhibit Nos. 54 and 55 were marked.)                   13      A Not that I recall.
14        Q Mr. Avallone, you've now been handed the                        14      Q Did you review e-mail communications with
15     documents that have been marked as Exhibits 54 and 55.               15   Bruce Hawkins?
16     Do you have them in front of you?                                    16      A Are you saying -- what period of time? I'm
17        A Yes.                                                            17   getting a little confused.
18        Q And Exhibit 54 is a notice for your                             18      Q In preparation for your deposition today, did
19     deposition; is that correct?                                         19   you review e-mail communications with Bruce Hawkins?
20        A Yes.                                                            20      A No.
21        Q And did you review this notice at any point                     21      Q What did you do to prepare for today's
22     prior to today?                                                      22   deposition?
23        A Yes.                                                            23      A I reviewed the e-mail stream.
24        Q When did you first review the document?                         24      Q Did you meet with counsel?
25        A Shortly after it was received.                                  25      A Yes.


                                                                  Page 11                                                                 Page 13

 1        Q And did you review it again in preparation for                   1      Q When did you meet with counsel?
 2     today's deposition?                                                   2      A Two nights ago over dinner and then again last
 3        A I was shown a copy of it last night.                             3   night.
 4        Q If you could put it aside and look at the next                   4      Q For how long did you meet with counsel last
 5     document, Exhibit 55. Do you understand that this is                  5   night?
 6     the deposition notice for Earl of Sandwich (Atlantic                  6      A Couple hours.
 7     City) pursuant to Rule 30(b)(6)?                                      7      Q Did you review any documents that refreshed
 8        A Yes.                                                             8   your recollection of events relevant to this dispute?
 9        Q Have you seen this document before?                              9      A Other than the e-mail stream, no.
10        A Yes.                                                            10      Q Did you speak to Mr. Earl about his
11        Q When did you first review this document?                        11   deposition?
12        A I don't recall when.                                            12      A Very briefly.
13        Q When did you most recently review this                          13      Q When did you speak to him?
14     document?                                                            14      A For about 30 seconds last night and about a
15        A I think I saw a copy of it last night.                          15   minute this morning.
16        Q And you understand that if you go to page 3                     16      Q What did Mr. Earl tell you?
17     and 4, that there are ten categories of information that             17      A Just told me good luck.
18     you are here to testify to?                                          18      Q Did you review a transcript of Mr. Earl's
19        A Yes.                                                            19   deposition?
20        Q What did you do to prepare yourself to testify                  20      A No, I did not.
21     as to these ten topics?                                              21      Q And do you understand that Rule 30(b)(6)
22        A Reviewed the e-mail stream between myself and                   22   requires that you must testify about information known
23     various -- Cowen and other representatives of Cowen.                 23   or reasonably available to the organization?
24        Q Did you review any other documents?                             24      A Yes.
25        A No.                                                             25      Q So unless I state otherwise, I will be asking


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 1     you questions in your capacity as Earl's 30(b)(6) or            1   Hollywood and its subsidiaries?
 2     corporate designee, as it's alternatively referred to,          2      A No.
 3     witness. Do you understand that?                                3      Q So can you explain to me the relationship
 4       A Yes.                                                        4   between Planet Hollywood and Earl Enterprises?
 5           MR. CHUBAK: I think it makes sense to clarify             5      A Planet Hollywood is an entity that is
 6        for the record that reference to Earl of Sandwich            6   controlled or owned or managed by Robert Earl, so it
 7        as Earl of Sandwich (Atlantic City), LLC.                    7   falls under that umbrella. There's no -- Earl
 8           MS. LEWIS-GRUSS: Okay. We can go through it               8   Enterprises is not an entity. It's not a -- it has no
 9        with every question to make sure we're clear.                9   shareholders. It's just a name that we use to reference
10           MR. CHUBAK: We don't need to go through it               10   the group of companies.
11        with every question but for purposes of this                11      Q What organizations are part of Earl
12        deposition.                                                 12   Enterprises that are not part of Planet Hollywood
13           MS. LEWIS-GRUSS: Okay. I was trying to agree             13   International?
14        with you.                                                   14      A There's Rawhide Holdings, Inc., which
15           (Avallone Exhibit No. 56 was marked.)                    15   effectively owns Earl of Sandwich restaurants. There is
16     BY MS. LEWIS-GRUSS:                                            16   also Orlando Co -- OCS Consultants that owns interest in
17       Q Mr. Avallone, do you have in front of you                  17   various other businesses. An Internet business called
18     what's been marked as Exhibit 56?                              18   Collide, a licensing business for Planet Hollywood
19       A Yes.                                                       19   Resort and Casino in Vegas, some real estate.
20       Q Is this your LinkedIn profile?                             20      Q So who is the parent company of Rawhide
21       A I assume so, yes.                                          21   Holdings?
22       Q Is it your intention that the information on               22      A Rawhide Holdings is owned by the Rawhide
23     the LinkedIn profile be accurate?                              23   Trust.
24       A That would be nice.                                        24      Q Is the Rawhide Trust alternatively referred to
25       Q Do you -- in reviewing this document, is there             25   as Robert Earl Family Trust?


                                                            Page 15                                                               Page 17

 1     anything that seems inaccurate to you?                          1      A The actual name is Rawhide Trust, and it's a
 2        A No.                                                        2   trust set up for the benefit of Robert Earl's children.
 3        Q And so is it correct that you are currently                3   We refer to it as the family trust, but that's not the
 4     the vice chairman of Planet Hollywood International?            4   technical name.
 5        A Yes.                                                       5      Q So is Earl Enterprises the name that is used
 6        Q And are you also the vice chairman of Earl                 6   to refer to all entities owned and controlled by Rawhide
 7     Enterprises?                                                    7   Trust?
 8        A Earl Enterprises isn't an entity, but, yes, I              8      A That's one of the entities.
 9     hold myself out as vice chairman, yes.                          9      Q There are other entities that are owned and
10        Q And so what is Earl Enterprises?                          10   controlled by Rawhide Trust, is that correct, in
11        A Earl Enterprises is sort of the trade name or             11   addition to Earl Enterprises?
12     a name that we give to encompass all the entities that         12      A You have to restate that question. I don't --
13     are either owned, controlled or managed by Robert Earl         13      Q I don't have to, but you'd like me to. So
14     or one of his family trusts.                                   14   what you said was --
15        Q And what's the difference between Earl                    15      A If you want an answer, you have to. Please.
16     Enterprises and Planet Hollywood International?                16      Q You stated that Rawhide Trust -- that Earl
17        A Well, Planet Hollywood as a legal entity has              17   Enterprises is one of the entities that's owned and
18     its own subsidiaries, its own ownership. Earl                  18   controlled by Rawhide Trust. What other entities are
19     Enterprises encompasses other entities other than just         19   owned and controlled by Rawhide Trust?
20     Planet Hollywood.                                              20      A Earl Enterprises doesn't own anything or
21        Q So Planet Hollywood has subsidiaries?                     21   control anything. Earl Enterprises is the name that we
22        A Yes.                                                      22   use to -- when we refer to businesses that are owned by
23        Q And Earl Enterprises encompasses other                    23   either Robert Earl or the trust.
24     entities other than just Planet Hollywood. Does that           24      Q I wasn't asking about Earl Enterprises. I was
25     mean that Earl Enterprises is a parent of Planet               25   asking you about entities owned and controlled by


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 1     Rawhide Trust. I said is Rawhide Trust the actual legal               1      A No.
 2     entity that owns and controls all the companies that you              2      Q No. So that OCS Consultants, Inc., is
 3     referred to as being subsidiaries or operating under the              3   different than the company you said was a subsidiary of
 4     Earl Enterprises umbrella.                                            4   Rawhide Holdings?
 5        A No. It just is the parent company of all the                     5      A I never said OCS was a subsidiary of Rawhide
 6     businesses that are under Rawhide Holdings.                           6   Holdings.
 7        Q So what businesses are under Rawhide -- so                       7      Q Okay. So if we go back, you did say that
 8     Rawhide Trust is the parent of Rawhide Holdings,                      8   OCS -- so is OCS part of the Earl Enterprises
 9     correct?                                                              9   organization?
10        A Yes.                                                            10      A That being one of the entities we would
11        Q What businesses are under Rawhide Holdings?                     11   consider under the group.
12        A Earl of Sandwich USA, which encompasses the                     12      Q Okay. So what is the difference between OC --
13     Earl of Sandwich brand. And then there's various                     13   between Planet Hollywood International and Earl
14     subsidiaries under that, one of them being Earl of                   14   Enterprises in terms of the companies that they include?
15     Sandwich (Atlantic City).                                            15      A Planet Hollywood has no ownership of Rawhide
16        Q And that is the only company that is owned by                   16   Holdings or any of their subsidiaries or -- which is
17     Rawhide Holdings?                                                    17   Earl of Sandwich.
18        A There's -- there may be one or two other ones,                  18      Q Do they both -- does Earl Enterprises and
19     but those are the other only operating businesses.                   19   Planet Hollywood both manage the same companies?
20        Q Who is the patient company of the restaurant                    20      A Earl Enterprises is just the name we refer to.
21     group known as Buca di Beppo?                                        21   It's not an entity. Planet Hollywood International,
22        A Planet Hollywood International, Inc.                            22   Inc., actually provides management services to all the
23        Q So what relationship does Planet Hollywood                      23   group companies under -- that would be considered under
24     International, Inc., have to Earl of Sandwich USA?                   24   this group of Earl Enterprises.
25        A No direct relationship.                                         25      Q Does either Earl Enterprises or Planet


                                                                  Page 19                                                                   Page 21

 1        Q Does Planet Hollywood -- is Planet Hollywood                     1   Hollywood International maintain a chart that lists all
 2     International owned and controlled by Rawhide Trust?                  2   of the companies that it owns, operates or otherwise has
 3        A Planet Hollywood International, no.                              3   an interest in?
 4        Q Who is Planet -- is there a parent company of                    4      A Yes.
 5     Planet Hollywood International?                                       5      Q And who maintains that document?
 6        A Yes.                                                             6      A The legal department.
 7        Q What is that parent?                                             7      Q Does Planet Hollywood International maintain a
 8        A There's not a patient. There's several                           8   document that lists all directors, officers and managers
 9     owners.                                                               9   of any company that it owns, controls, or otherwise
10        Q Who are the owners of Planet Hollywood                          10   operates?
11     International?                                                       11      A Yes.
12        A Planet Hollywood Resorts International, LLC,                    12      Q And because Earl Enterprises is not a legal
13     Robert Earl, the Holst Trust.                                        13   entity, is it correct to assume that it does not
14        Q How do you spell that, please?                                  14   maintain a list of officers, directors, executives of
15        A H-O-L-S-T. And that's -- and then about 30                      15   companies because it doesn't have any companies that it
16     very small holders less than 1 percent.                              16   owns, controls or manages; is that correct?
17        Q Are you one of those small holders?                             17      A Yes.
18        A No, I'm not.                                                    18      Q But you hold yourself out in your e-mail as
19        Q Who is the beneficiary of the Holst Trust?                      19   the vice chairman of Earl Enterprises, correct?
20        A Robert's three children.                                        20      A Yes.
21        Q Who is the owner of Planet Hollywood Resorts                    21      Q Why do you hold yourself out as being vice
22     International, LLC?                                                  22   chairman of Earl Enterprises rather than vice chairman
23        A OCS Consultants, Inc.                                           23   of Planet Hollywood International?
24        Q And OCS Consultants, Inc., is also a                            24      A Because it has a broader reach to all the
25     subsidiary of Rawhide Holdings?                                      25   different companies and not just -- not just Planet


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 1     Hollywood.                                                           1   Enterprises, what positions did you have within Mr.
 2        Q But Planet Hollywood International does                         2   Earl's companies?
 3     include some of the restaurants?                                     3      A Do you want me to go through a history?
 4        A Some.                                                           4      Q Please.
 5        Q But not all?                                                    5      A Started in 1988 and I was the CFO of Hard Rock
 6        A Correct.                                                        6   Cafe International, the public company. Robert acquired
 7        Q And is it correct that you serve as the                         7   the company. We went -- we were public in 1987. That's
 8     president of Earl of Sandwich (Atlantic City)?                       8   when I joined Hard Rock International. In 1988
 9        A Yes.                                                            9   Robert -- a company that Robert was controlling bought
10        Q Do you serve as -- and you're also the                         10   Hard Rock Cafe, and I remained as CFO. Moved down to
11     secretary of Earl of Sandwich (Atlantic City)?                      11   Orlando, was put -- made CFO of some of the other
12        A Yes.                                                           12   businesses related -- Orlando-related businesses, and
13        Q Are you an officer of any other entity?                        13   then became CFO of Planet Hollywood.
14        A Yes.                                                           14          And then in 2008, we acquired Buca, Inc.,
15        Q What -- which other entities do you serve as                   15   restaurant company, and at that time I was made CEO or
16     an officer for?                                                     16   president of that entity to turn it around. And then
17        A 99 percent of all the entities of Planet                       17   after that, I became vice chairman sort of looking
18     Hollywood, Earl of Sandwich, Rawhide Holdings, mostly --            18   after -- looking at additional M&A opportunities and
19     all the entities, 99 percent of them. There may be one              19   just looking after some of the businesses for Mr. Earl.
20     or two small ones there's --                                        20      Q Are you a member of any board of any
21        Q And do you also own, either in part or in                      21   corporation?
22     whole, franchises for companies that operate under the              22      A Planet Hollywood International, Inc.
23     Earl Enterprises banner?                                            23      Q Are there any others?
24        A Do I personally?                                               24      A Not outside the group.
25        Q Yes.                                                           25      Q Within the group, are you a member of the


                                                                 Page 23                                                           Page 25

 1        A No.                                                             1   board of any other organizations?
 2        Q Was there a point in time when you did have                     2      A I -- yes. I assume, yes. And to the extent
 3     ownership or partial ownership of franchises?                        3   that they have boards, I would -- I would most likely be
 4        A No.                                                             4   on them.
 5        Q Are you aware of any public statements or                       5      Q So much like you're an officer of 99 percent
 6     legal filings in which it was stated that you were an                6   of all entities within the group, you're also a member
 7     owner of Earl -- well, of franchises?                                7   of the board of the majority of entities within the
 8        A No.                                                             8   group to the extent they have boards?
 9        Q Are you aware that Planet Hollywood has filed                   9      A To the extent they have boards.
10     for bankruptcy in the past?                                         10      Q Are you also a manager of the majority of
11        A Yes.                                                           11   entities that are within the group?
12        Q Which Planet Hollywood is it that filed for                    12      A Yes. You know, some were member managed, some
13     bankruptcy?                                                         13   manager managed, but in that capacity.
14        A Planet Hollywood International, Inc., and its                  14      Q Does Earl of Sandwich USA have a board?
15     subsidiaries.                                                       15      A No.
16        Q And Planet Hollywood International, Inc., has                  16      Q What corporate positions do you hold for Earl
17     filed for bankruptcy twice?                                         17   of Sandwich USA?
18        A Correct.                                                       18      A I'm not sure, but I believe I'm the manager.
19        Q And at the time that Planet -- during one of                   19      Q Are you the president of Earl of Sandwich USA?
20     those bankruptcies, it's not correct that you co-owned              20      A I don't believe I have an officer title.
21     about Mr. Earl a franchise of Planet Hollywood in Reno,             21      Q Are there officers of Earl of Sandwich USA?
22     Nevada?                                                             22      A Operating officers, yes.
23        A I did not.                                                     23      Q Do you know if there's a president of Earl of
24        Q So prior to the time that you became the vice                  24   Sandwich USA?
25     chairman of Planet Hollywood International and Earl                 25      A We have a CEO for Earl of Sandwich USA,


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 1     several vice presidents of operations, but it's not --         1      Q Is the majority of your business travel
 2     they're not named in the operating documents as such.          2   domestic or international?
 3        Q You have an MBA from Case University; is that             3      A Domestic.
 4     correct?                                                       4      Q And where within the U.S. do you travel most
 5        A Yes.                                                      5   frequently for business?
 6        Q Do you have any other advanced degrees?                   6      A New York, Las Vegas and California.
 7        A No.                                                       7      Q What business do you transact in New York?
 8        Q How would you describe your job                           8      A We have restaurants there.
 9     responsibilities?                                              9      Q How often do you meet with Mr. Earl?
10        A I basically look after the businesses and look           10      A What do you mean by meet?
11     after some of the day-to-day things and sort of bring         11      Q What do you mean -- what do you understand the
12     things to Robert's attention for him to make decisions        12   word "meet" to mean?
13     about.                                                        13      A In person? By phone? Correspondence?
14        Q What are the day-to-day things that you look             14      Q So you consider -- when you have a phone call
15     after?                                                        15   with Mr. Earl, you consider that to be a meeting? I
16        A Just the running of the various departments.             16   just want to make --
17     We have presidents of each of the different brands and        17      A No, I don't. I consider a meeting as in
18     just communicating with them what's happening. To the         18   person.
19     extent that there's needs for development or requests, I      19      Q So I want to make sure that we're using the
20     would sort of coordinate them and present them to Robert      20   words in the same way, so that's an important
21     for his approval.                                             21   clarification.
22        Q Is there a document that lists your job                  22      A Yes.
23     responsibilities?                                             23      Q So how do communicate with Mr. Earl?
24        A No.                                                      24      A When he's in town, I meet with him either at
25        Q Have your responsibilities changed throughout            25   his house or in the office and then generally by phone


                                                           Page 27                                                                 Page 29

 1     the course of your employment with Robert Earl?                1   and e-mail.
 2       A Yes.                                                       2      Q So how often do you meet with Mr. Earl in
 3       Q When did they last change?                                 3   person?
 4       A After I -- after I was no longer the CEO of                4      A When he's in town, pretty much every day if
 5     Buca di Beppo restaurant chain and became vice chairman        5   not every -- every other day, if not more. When he's
 6     was the last time it changed.                                  6   not in town, occasionally, you know, if I know he's
 7       Q And you became vice chairman in 2012?                      7   going to be in California for a while, I will meet with
 8       A Yes. I mean, around --                                     8   him and plan a trip around that when I know where he's
 9       Q And when you became vice chairman, was there               9   going to be to go through stuff. Sometimes I fly out to
10     an announcement made to the employees of the company?         10   California just to meet with him to go through issues.
11       A Yes.                                                      11      Q What is or was the business of Earl of
12       Q And did that announcement list what                       12   Sandwich (Atlantic City), LLC?
13     position -- the specifics of your position in any way?        13      A It operated Earl of Sandwich Restaurant in
14       A I don't recall.                                           14   Showboat Casino in Atlantic City.
15       Q How frequently do you travel for business?                15      Q Did Earl of Sandwich (Atlantic City) operate
16       A It depends, but I would say, generally, once              16   that company, or did it just hold the lease for the
17     every other month or twice.                                   17   location in Atlantic City?
18       Q Do you travel with Mr. Earl when you travel on            18      A It operated it.
19     business?                                                     19      Q Mr. Avallone, I'm handing you what's been
20       A Occasionally.                                             20   previously marked as Exhibit 36.
21       Q But not always; is that correct?                          21      A Yes.
22       A Not always.                                               22      Q This document was described by your counsel as
23       Q And do you travel internationally for                     23   a partial organizational chart. Do you agree with that
24     business?                                                     24   description?
25       A Yes.                                                      25      A Yes, except the name Robert Earl Family Trust


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 1     should be Hol -- should be the Rawhide Trust, the formal              1   to that.
 2     name.                                                                 2          Are you the manager of Earl of Sandwich
 3        Q Does the Rawhide Trust have corporate                            3   (Atlantic City)?
 4     officers?                                                             4      A Yes.
 5        A Rawhide Trust has trustees.                                      5      Q Are you the sole member of Earl of Sandwich
 6        Q Who are those trustees?                                          6   (Atlantic City)?
 7        A Trustee -- the trustee's actually Lauren                         7      A Am I?
 8     Investments Holding -- Lauren Investments or Lauren                   8      Q Yes.
 9     Holdings.                                                             9      A I am not a member.
10        Q And that's a single trustee? It has one                         10      Q Who is a member of Earl of Sandwich (Atlantic
11     trustee?                                                             11   City)?
12        A That is the single trustee. There are two                       12      A Earl of Sandwich USA.
13     directors of that entity that act -- that basically act              13      Q And Earl of Sandwich USA is the sole member of
14     as trustees.                                                         14   Earl of Sandwich (Atlantic City)?
15        Q Who are those directors?                                        15      A Correct.
16        A Thomas Kessler and Caroline Deletra.                            16      Q Does Rawhide Holdings incorporate or conduct
17        Q Rawhide Holdings -- does Rawhide Holdings,                      17   any business itself or is, as the name suggests, just a
18     Incorporated, have any corporate officers?                           18   holding company?
19        A I'm sure it does.                                               19      A It's just a holding company.
20        Q Are you one of the officers of Rawhide                          20      Q And Earl of Sandwich USA, LLC, has operations;
21     Holdings, Incorporated?                                              21   is that correct?
22        A I am.                                                           22      A Yes.
23        Q Do you know what title you have?                                23      Q What role, if any, do you have with regard to
24        A I don't.                                                        24   the Rawhide Trust?
25        Q Is there a board of directors or board of                       25      A I communicate with the trustees.


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 1     members of Rawhide Holdings, Incorporated?                            1      Q Do you communicate with the trustees regarding
 2        A I'm not sure.                                                    2   the business of Earl of Sandwich USA, LLC?
 3        Q And we talked about the corporate officers of                    3      A Yes.
 4     Earl of Sandwich USA a few minutes ago; is that correct?              4      Q And you also communicate with the trustees
 5        A Yes.                                                             5   regarding the business of any other entity that the
 6        Q And forgive me if I'm repeating this question                    6   trust owns; is that true?
 7     because I don't remember your answer.                                 7      A Yes.
 8           Is there a board of members of Earl of                          8      Q Mr. Avallone, you've been handed a document
 9     Sandwich USA?                                                         9   that was previously marked as Exhibit 37. Do you have
10        A I don't believe so.                                             10   that in front of you?
11        Q And you also don't believe there's a board of                   11      A Yes.
12     directors for Earl of Sandwich USA?                                  12      Q Have you seen this document before today?
13        A Correct.                                                        13      A Yes.
14        Q And all the corporate officer positions for                     14      Q What do you understand this document to be?
15     Earl of Sandwich (Atlantic City) that existed were held              15      A Replacing Dave Crabtree with myself.
16     by you most recently?                                                16      Q And does this document refresh your
17        A Yes.                                                            17   recollection that you were appointed the CEO of Earl of
18        Q And even though that franchise is no longer                     18   Sandwich (Atlantic City), LLC?
19     operating, you still serve as the president and                      19      A Okay. Yes.
20     corporate secretary of Earl of Sandwich (Atlantic City)?             20      Q So it's correct and true -- well, correct and
21        A Yes.                                                            21   true is redundant, so it's true that you, as you sit
22        Q And you're also the CEO of Earl of Sandwich                     22   here today, are the president, CEO and secretary of Earl
23     (Atlantic City); is that correct?                                    23   of Sandwich (Atlantic City)?
24        A No, I don't believe so.                                         24      A Yes.
25        Q You don't believe so. Okay. We'll come back                     25      Q You are also manager of Earl of Sandwich


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 1     (Atlantic City), LLC?                                                1      A Yes.
 2        A Yes.                                                            2      Q And did Mr. Mikelberg respond to that e-mail?
 3        Q Are there any other managers of Earl of                         3      A No.
 4     Sandwich (Atlantic City)?                                            4      Q Did anyone respond to your January 11th e-mail
 5        A Not that I'm aware of.                                          5   to Mr. Mikelberg?
 6        Q Does Earl of Sandwich (Atlantic City) have                      6      A Yes.
 7     governing documents?                                                 7      Q Who responded?
 8        A Yes.                                                            8      A Bradley Schwab.
 9        Q Do you know what those governing documents are                  9      Q And at the time you received Mr. -- Mr. Schwab
10     by title?                                                           10   responded to you on January 11th; is that correct?
11        A Operating agreement.                                           11      A Yes.
12        Q And does the operating agreement set out the                   12      Q And Mr. Schwab responded in writing; is that
13     authority granted to the corporate officers of Earl of              13   correct?
14     Sandwich (Atlantic City)?                                           14      A Yes.
15        A Yes.                                                           15      Q And at the time you received Mr. Schwab's
16        Q Does that document also set out the authority                  16   written e-mail to you, did you know who he was?
17     granted to the manager of Earl of Sandwich (Atlantic                17      A No.
18     City), LLC?                                                         18      Q You had no prior interactions with Mr. Schwab
19        A Yes.                                                           19   before January 11, 2017; is that correct?
20        Q Are there any other documents that establish                   20      A I don't think so.
21     or are there any other documents that govern the                    21      Q And Mr. Schwab's e-mail signature block says
22     operations of Earl of Sandwich (Atlantic), LLC [sic]?               22   that he's the head of Cowen Special Investments. Do you
23        A No other documents.                                            23   see that?
24        Q Are you familiar with an individual by the                     24      A Yes.
25     name of Barrett Mikelberg or Mikelberg?                             25      Q Did you have any interactions with Cowen


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 1        A Yes.                                                            1   Special Investments prior to receiving Mr. Schwab's
 2           (Avallone Exhibit No. 57 was marked.)                          2   e-mail on January 11th, 2017?
 3        Q Mr. Avallone, do you have in front of you                       3      A No.
 4     what's been marked as Exhibit 57?                                    4      Q Had you heard of Cowen Special Investments
 5        A Yes.                                                            5   prior to receiving Mr. Schwab's e-mail on January 11th,
 6        Q And this is a document bearing the Bates                        6   2017?
 7     number, which is little numbers at the bottom, Earl 251              7      A I'd heard of Cowen but not Cowen Special
 8     through Earl 257?                                                    8   Investments.
 9        A Yes.                                                            9      Q The Cowen that you had been familiar with or
10        Q So if you -- do you understand that when                       10   at least had heard of, did you believe that that was a
11     e-mails print out, that what's first on the page is                 11   company related to Cowen Special Investments or did you
12     actually the last e-mail in the thread?                             12   think it was something completely different?
13        A Yes.                                                           13      A No. The Cowen that I dealt with was the --
14        Q So if you could turn to the page that has Earl                 14   was the retail investment banking arm of the restaurant
15     255 at the bottom, please.                                          15   division.
16        A Uh-huh.                                                        16      Q So in his e-mail to you, Mr. Schwab asked you
17        Q No. Actually, I'm sorry. If you could turn                     17   a number of questions; is that correct?
18     to Earl 253. So about halfway, a little more than                   18      A Yes.
19     halfway down the page is there an e-mail from you to                19      Q And did you respond to those questions?
20     Mr. Mikelberg?                                                      20      A Yes.
21        A Yes.                                                           21      Q And this e-mail is printed in black and white.
22        Q So on January 11th, you sent an e-mail to                      22   If we looked at the original, you may have used colored
23     Mr. Mikelberg stating that Earl of Sandwich (Atlantic               23   ink to differentiate your answers, but is it true that
24     City) might be a seller of its 3.6 million undisputed               24   you responded to Mr. Schwab's questions in what I call
25     allowed claim for 2.15 million cash; is that correct?               25   in line, so in the body of his actual e-mail to you?


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 1        A Yes.                                                             1      A Yes.
 2        Q And so that we're clear, Mr. Schwab in that                      2      Q And you didn't tell Mr. Schwab that Earl
 3     January 11, 2017, e-mail asked, "Was wondering if you                 3   Enterprises wasn't a legal entity, did you?
 4     have support documentation regarding the claim being                  4      A No.
 5     allowed as you mention below. I do see that it was                    5      Q And you didn't tell him that the party that
 6     filed for 3.6 million as well as 4.5 million."                        6   had settled the claim with the estate was anything other
 7            What was your response to that question?                       7   than Earl Enterprises; is that correct?
 8            MR. CHUBAK: Objection. It's not a question.                    8      A Correct.
 9        A (Reviewing document.) He was wondering                           9      Q And so for purposes of negotiating a potential
10     whether we had support documentation to support the 3.6              10   sale of Claim 5858, it wasn't important to you to
11     as well as the 4.5, and I was -- and I responded that it             11   clarify which legal entity had settled the claim; is
12     was -- that the claim was originally at 4 point -- it                12   that correct?
13     was disputed at 4.5 and that we agreed on, with the                  13      A I wouldn't say it wasn't important. It
14     debtor, a 3.6 million dollar claim.                                  14   wasn't -- it wasn't pertinent to the negotiations.
15        Q And the claim that you and Mr. Schwab were                      15      Q Why wasn't it pertinent?
16     discussing is a claim filed by Earl of Sandwich                      16      A Well, I mean, you know, in looking at it, I
17     (Atlantic City), LLC, in the Caesars bankruptcy; is that             17   mean, price is one thing, but there's also other
18     correct?                                                             18   variables that I have to con -- had to consider. The
19        A That is correct.                                                19   actual terms and conditions --
20        Q And that claim was filed and amended; is that                   20      Q That's not my question. My question was
21     correct?                                                             21   solely about Earl Enterprises and the difference between
22        A It was filed and amended, yes.                                  22   Earl Enterprises and Earl of Sandwich and what entity
23        Q And do you know that the amended claim number                   23   you held yourself out as representing in any
24     is 5858?                                                             24   communications with Mr. Schwab.
25        A Yes.                                                            25          So you tell him in response to his asking for


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 1        Q So Mr. Schwab goes on and asks you a few more                    1   support documentation that you can easily get a letter
 2     questions, including he'd like you to confirm that you                2   from the debtor or restructuring officer confirming the
 3     are offering the paper for sale at 2.15 million or                    3   nature of the claim, correct?
 4     approximately 59.72 percent of the face claim amount, is              4      A Yes.
 5     that correct," and "is that correct" is in his question.              5      Q Okay. And, again, on the same day Mr. Schwab
 6     Do you see that?                                                      6   then says -- no. He lists a number of conditions for
 7        A Yes.                                                             7   the benefit of the seller. Do you see that?
 8        Q And how did you respond?                                         8      A Yes.
 9        A I responded question.                                            9      Q And he says that if you're good with those
10        Q And he also asked you if you would have any                     10   terms, he'll move forward -- or sorry. He says that if
11     flexibility. How did you respond?                                    11   you're good with those terms, he'll forward you a
12        A No.                                                             12   purchase and sale agreement for review; is that correct?
13        Q And Mr. Schwab responded to you again in                        13      A Yes.
14     writing, and he told you that he would have interest at              14      Q And at some point after receiving that e-mail,
15     59.72 percent subject to confirming the above, and you               15   did you have a phone conversation with Mr. Schwab?
16     had asked for 59.72 percent; is that correct?                        16      A Yes.
17        A We were discussing -- the price was -- 59.72                    17      Q And when did that conversation occur?
18     percent calculates out to be the 2.15 million, and that              18      A I don't recall exactly, but I would have
19     was one aspect of the negotiation.                                   19   assumed it was sometime later on the 11th.
20        Q And Mr. Schwab asked you or stated -- let me                    20      Q And what did Mr. Schwab -- did you ask
21     strike that.                                                         21   Mr. Schwab to call you or did he reach out to you on his
22            Mr. Schwab stated -- actually, Mr. Schwab                     22   own?
23     asked you if you have support documentation confirming               23      A I don't recall.
24     that Earl Enterprises had settled a claim with the                   24      Q And what did Mr. Schwab say to you?
25     estate. Do you see that?                                             25      A I don't recall exactly, but I do recall


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 1     stating that, as part of discussions, that as part of            1   have not been produced in this action?
 2     any transaction, that I need to be comfortable,                  2      A No.
 3     obviously, with the terms and conditions, which includes         3          MS. LEWIS-GRUSS: So we're going to state that
 4     the price, needed to get the approval from the owner and         4      all such documents need to be produced and we are
 5     how it affected me as a member of the unsecured                  5      going to continue this deposition because we can't
 6     creditors committee.                                             6      do that without those documents because the record
 7        Q Where did you -- and you said that all on the               7      is incomplete. So we suggest that you find a way
 8     phone?                                                           8      to produce them to us at lunch; and if not, we're
 9        A Yes.                                                        9      coming back.
10        Q And how do you recall that you said that                   10          THE WITNESS: There is no documents.
11     specifically when you don't recall anything that                11   BY MS. LEWIS-GRUSS:
12     Mr. Schwab said to you?                                         12      Q You just said that you had e-mails.
13        A Because whenever I spoke to -- in my                       13      A No. I had a conversation, I said.
14     discussions with any of the people who called me or I           14      Q No, that's not what you said, but we can go
15     spoke to about the claim, I made that statement because         15   back.
16     I wanted to be transparent and let them know that, you          16      A Okay.
17     know, I'm on the unsecured creditors committee. I need          17      Q So before you had e-mails, but now that you
18     other approvals. You know, that this isn't going to be          18   found out we're going to have to continue your
19     a quick thing. I need to review everything, and I need          19   deposition --
20     to see how it sits on, you know, being on the unsecured         20      A No.
21     creditors committee with my access to, you know, certain        21      Q -- you're telling me under oath that such
22     confidential information as relating to the bankruptcy.         22   communications only occurred by phone?
23     I just wanted to make sure we -- I was very up front            23      A Yes.
24     with them and transparent.                                      24      Q Okay. So did you understand that at the
25        Q Why didn't you put that in writing?                        25   time -- so why did you wait till February to reach out


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 1        A I didn't see a need to.                                     1   to the creditors committee counsel as opposed to in
 2        Q And is it not your practice that when you're                2   January when you were actually actively negotiating with
 3     negotiating to make sure that proposed terms and                 3   Cowen?
 4     conditions are in writing?                                       4      A Because in -- I was negotiating with Cowen,
 5        A That's the purpose of the purchase and sale                 5   but at the time I did not -- had no intent that I
 6     agreement.                                                       6   actually had a deal going. We were just talking about
 7        Q And did you send anybody at Cowen a purchase                7   it. And when I looked at the -- the purchase and sale
 8     and sale agreement that listed those conditions?                 8   agreement, the assignment agreement they sent me, there
 9        A No.                                                         9   was items in there that I didn't like. And because of
10        Q And did you make any effort to reach out to                10   that, I didn't --
11     the creditors committee to find out how a potential sale        11      Q So were you negotiating in bad faith with
12     would impact your rights and responsibilities on the            12   Cowen Special Investments?
13     creditors committee?                                            13      A No.
14        A Yes.                                                       14       (Whereupon, Douglas S. Mintz, Esq., enters the
15        Q What steps did you take?                                   15   deposition room.)
16        A I spoke to creditors committee counsel.                    16      Q So you told them that you would have these
17        Q When did those conversations occur?                        17   conditions, but you took no steps to actually make sure
18        A I don't recall.                                            18   that you complied or made those conditions come to
19        Q Do you believe that they occurred at about the             19   fruition; is that correct?
20     time you were negotiating with Cowen in January of 2017?        20      A No.
21        A Probably sometime after that.                              21      Q But you were negotiating in January and it
22        Q What does that mean to you, sometime after                 22   wasn't until February that --
23     that? What length of time?                                      23      A Well, there was --
24        A Maybe early February.                                      24      Q -- you took any steps?
25        Q Would it surprise you that those documents                 25      A No, that's -- I received a purchase and sale


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 1     agreement. Didn't like the terms. There was other               1   and if the documents were in order and if I got Robert
 2     considerations having to do with me being on the                2   Earl's approval and if it didn't affect my standing on
 3     committee. And as you can see by the e-mail that there          3   the unsecured creditors committee, then I would have
 4     was -- after that there was no discussions or anything          4   been in a position to bring it to Robert, get his
 5     else. The negotiations ended.                                   5   approval and then do a deal.
 6        Q So once you received the purchase and sale                 6      Q And if you look back at what's been marked as
 7     agreement from Cowen, did you inform them that the deal         7   Exhibit 57, Mr. Schwab, at 8:34 on January 12th, sends
 8     was off and that you would not be pursuing any further?         8   you an e-mail saying that his acceptance of your offer
 9        A There was never a deal to have. It was                     9   is good through 11:00 a.m. Eastern time that day. Do
10     negotiations. The negotiations ended.                          10   you see that?
11        Q Did you ever tell Cowen that you would not be             11      A Yes.
12     pursuing the negotiations further?                             12      Q And in response to that e-mail, you didn't say
13        A I didn't need to because I said if I don't                13   to Mr. Schwab, "I need more time to obtain approvals."
14     hear from you, we're going to assume you're no longer          14   You said, "Please forward draft document," correct?
15     interested, so that's how it ended.                            15      A Yes, because I wanted to move the process
16           MS. LEWIS-GRUSS: Let's take a break.                     16   along, and documents are the most important aspect of a
17           THE WITNESS: Okay.                                       17   transaction of this nature.
18           THE VIDEOGRAPHER: Going off the record. The              18      Q And in Mr. Schwab's January 12th e-mail to
19        time is 10:37 a.m.                                          19   you, he said, "There are numerous other parties seeking
20              (A 14-minute recess was had.)                         20   to close transactions prior to the January 17th
21           THE VIDEOGRAPHER: Please stand by. Going                 21   deadline." Do you see that?
22        back on the record. The time is 10:51 a.m.                  22      A Yes.
23     BY MS. LEWIS-GRUSS:                                            23      Q And you didn't in response to Mr. Schwab say,
24        Q So you testified before the break,                        24   "We will not be able to close this deal prior to January
25     Mr. Avallone, that at the time you were negotiating with       25   17 because I need more time to obtain approvals," did


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 1     Cowen, you had no intent to actually have a deal going;         1   you?
 2     is that true?                                                   2      A No.
 3        A No. What I said was I had no intent to sell                3      Q And at the time you sent your e-mail on
 4     it at that time. I was the -- at the time we were just          4   January 12th, 2017, at 9:46 in the morning, you didn't
 5     negotiating. It was not a -- in my mind, it was not a           5   indicate to Mr. Schwab that there were any conditions to
 6     sale by any means.                                              6   closing; isn't that correct?
 7        Q So did you inform Cowen that you were just in              7      A By saying send me a draft document, I think
 8     negotiation -- negotiating and did not have the intent          8   that speaks for itself. There was no final document,
 9     to complete a sale in January of 2017?                          9   that there were negotiations to continue --
10        A I think the e-mails speak for themselves that             10      Q My question called for yes or no. Did you
11     we were negotiating back and forth various conditions          11   indicate in your e-mail to Mr. Schwab that there were
12     and that we needed to have, you know, a signed document.       12   other conditions to closing that would need to be
13     I was hoping we could get to a signed agreement that I         13   completed?
14     could -- in terms that were acceptable to me that I            14      A I think the word "draft" answers that
15     could present to Robert to get his approval to proceed         15   question.
16     or not, for him to make the decision.                          16      Q So the answer is, no, you didn't actually say
17        Q But it's your testimony as you sit here today             17   anything other than please forward draft document,
18     that you, as the corporate representative of Earl of           18   correct?
19     Sandwich (Atlantic City), LLC, had no intent to close a        19         MR. CHUBAK: Objection, asked and answered.
20     deal with Cowen in January 2017 when you were                  20      A Correct.
21     negotiating with representatives with Cowen for the sale       21      Q And did you receive a draft document from
22     of what has been referred to as Claim 5858, correct?           22   Mr. Schwab?
23            MR. CHUBAK: Objection, misstates testimony.             23      A I received a draft document. I don't recall
24        A No. I had no intent on January 11th that the              24   who from.
25     sale was going -- if all the conditions that I just --         25      Q If we could go back to Exhibit 57 for a


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 1     moment, please. Mr. Schwab in his e-mail to you of 8:34               1   He accepted your price; is that correct?
 2     a.m., January 12th, said that the offer was good through              2      A Yes.
 3     11:00 a.m. Eastern time today, correct?                               3      Q So on January 12th, you received an e-mail
 4        A Yes.                                                             4   from Gail Rosenblum. Who do you understand Gail
 5        Q And you responded prior to 11:00 a.m. Eastern                    5   Rosenblum to be?
 6     time on January 12th, correct?                                        6      A She was a -- a representative accountant.
 7        A Not to that question.                                            7      Q And she sent you a draft document; is that
 8        Q You responded to his e-mail prior to 11:00                       8   correct?
 9     a.m. Eastern time on January 12th; is that correct?                   9      A Yes.
10        A I responded to his e-mail.                                      10      Q And did you forward the draft document to
11        Q And what question did you say you didn't                        11   Mr. Earl?
12     respond to? What I stated to you doesn't involve a                   12      A No.
13     question; isn't that true?                                           13      Q Did you forward the draft document to legal
14        A He was saying acceptance of the offer is good                   14   counsel?
15     until 11:00 a.m. I sent a note to send a draft, not                  15      A No.
16     a -- I did not agree to --                                           16      Q Did you forward the draft document to anyone?
17        Q Mr. Schwab had said to you the offer --                         17      A No.
18     acceptance of the offer is good through 11:00 and that               18      Q Did you review the draft document?
19     he could forward a draft. Your response sent prior to                19      A Yes.
20     11:00 a.m. Eastern time on January 12th was to forward a             20      Q Did you inform Cowen of any concerns you had
21     draft, correct?                                                      21   about the draft document?
22        A Yes.                                                            22      A No.
23            (Avallone Exhibit No. 58 was marked.)                         23      Q Did you send a black line requesting changes
24        Q Mr. Avallone, you've now been handed what has                   24   to the draft document?
25     been marked as Exhibit 58. It's a document that was                  25      A No.


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 1     produced by your counsel bearing the Bates Nos. Earl 315              1      Q Did you inform Cowen at the time you received
 2     to Earl 325. Do you see that?                                         2   Ms. Rosenblum's e-mail in the afternoon of January 12th
 3        A Yes.                                                             3   that you were displeased with the draft agreement?
 4        Q Is this the e-mail that you received from                        4      A No.
 5     Cowen Special Investments forwarding you the draft                    5      Q Did you inform Cowen that you had reviewed the
 6     document that you requested?                                          6   draft document and would not be proceeding with the deal
 7        A Yes.                                                             7   for the sale of Claim 5858?
 8        Q And at the time that you received this                           8          MR. CHUBAK: Objection, compound question.
 9     document, you had agreed with Cowen Special Investments               9      A Could you repeat the question?
10     on a price for a potential -- what you would call a                  10      Q So at the time that you received the draft
11     potential sale of the claim?                                         11   contract from Ms. Rosenblum on the afternoon of January
12        A Yes.                                                            12   12th, 2017, did you inform Cowen that you would not
13        Q And, in fact, Cowen Special Investments                         13   proceed with any deal to sell Claim 5858?
14     accepted the price you asked for. There was no discount              14      A The negotiations weren't going to continue. I
15     from your original request for 2.15 million dollars,                 15   did not inform Cowen.
16     correct?                                                             16      Q Did you have a conversation with Ms. Rosenblum
17        A There was a request when he asked for                           17   by phone after she forwarded this document to you?
18     flexibility, and I said no.                                          18      A Yes.
19        Q And he then accepted your price; is that                        19      Q When did that call occur?
20     correct?                                                             20      A I do not recall.
21           MR. CHUBAK: Objection, calls for a legal                       21      Q Do you have reason to believe that that call
22        conclusion.                                                       22   occurred in January of 2017?
23        A Part of the negotiations, one aspect of it,                     23      A Yes.
24     yes.                                                                 24      Q Do you believe that it occurred soon after you
25        Q So my question was specifically about price.                    25   received the e-mail from Ms. Rosenblum on January 12th?


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 1       A Yes.                                                          1      Q What did you do to familiarize yourself with
 2       Q Did you call Ms. Rosenblum?                                   2   the deposition topics prepared for today?
 3       A I don't recall.                                               3      A I'm sorry. Could you repeat that?
 4       Q What did you say to Ms. Rosenblum during that                 4      Q So you're under obligation to testify on
 5     phone call?                                                       5   behalf of the company regarding deposition topics set
 6       A I said about the claim and about what was                     6   out in the notice --
 7     needed, the approval of the documents. I needed to                7      A Yes.
 8     speak to -- get approval from the owner of the business,          8      Q -- of deposition.
 9     and I had to see what -- how it affected me and the               9      A Uh-huh.
10     creditors committee.                                             10      Q So for you to say you don't recall is somewhat
11       Q What steps did you take to obtain approval of                11   surprising given that you were obligated to prepare for
12     the document?                                                    12   this deposition.
13       A I read the document.                                         13          What did you -- so I'm going to ask you again,
14       Q So you have authority to approve the document                14   you know, as you sit here today, what did Ms. Rosenblum
15     on your own?                                                     15   tell you during your conversation with her in January of
16       A No.                                                          16   2017?
17       Q So, again, what steps did you take to obtain                 17          MR. CHUBAK: Objection, asked and answered.
18     approval of the document?                                        18       You're asking about a phone call.
19       A I did my own review, and if I had found it                   19      A I don't recall.
20     satisfactory, I would have passed it on to the legal             20          MS. LEWIS-GRUSS: Mr. Chubak, I'm going to ask
21     department because it -- I was expecting a one-page              21       my questions.
22     assignment to look at, and I got a seven- or eight-page          22      A I don't recall.
23     document that had all these conditions, that had                 23      Q Do you take notes of your phone calls?
24     indemnities and reps and warranties --                           24      A No.
25       Q So, in fact --                                               25      Q When you have a phone call regarding potential


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 1        A -- and it didn't even guarantee.                             1   sale of a claim for 2.15 million dollars, do you report
 2        Q So, in fact, you did nothing to obtain                       2   that phone call to Mr. Earl?
 3     approval of the documents; isn't that correct?                    3      A No.
 4        A Yeah. It was at that point that the                          4      Q Why not?
 5     transaction just got more complicated than I was                  5      A Because it's common practice that I would get
 6     expecting.                                                        6   all the information together and put it in final form
 7        Q So, again, you did nothing to obtain approval                7   that would include negotiation of all the documents,
 8     of the document; isn't that correct?                              8   price, pluses, any other contingencies, and I put
 9            MR. CHUBAK: Objection, asked and answered.                 9   together a full package to discuss with him to get
10        A Correct.                                                    10   his -- to make a recommendation for him to make a
11        Q Did you inform Ms. Rosenblum that you had                   11   decision.
12     expected to receive a one-page document?                         12      Q And you have authority to engage in
13        A No.                                                         13   negotiations with third-parties on behalf of Earl
14        Q Why not?                                                    14   Enterprises; isn't that correct?
15        A Because, again, this was all part of                        15      A Yes.
16     negotiations and not a deal, that this was -- this was           16          (Avallone Exhibit No. 59 was marked.)
17     not something that was expecting to happen very quickly,         17      Q Mr. Avallone, do you have in front of you
18     and they wanted it to happen quickly because of -- they          18   what's been marked as Exhibit 59?
19     were mentioning because of the claim deadlines and               19      A Yes.
20     things of that nature, that I wasn't -- didn't want --           20      Q And this a document that was produced by your
21     wasn't prepared to negotiate any further.                        21   counsel bearing the Bates stamps Earl 104 through Earl
22        Q Did you inform Ms. Rosenblum during your                    22   115?
23     conversation that you were not prepared to meet the              23      A Yes.
24     January 17th deadline?                                           24      Q And it says in the middle of the page or -- in
25        A I don't recall.                                             25   the middle of the page, there's an e-mail from


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 1     Ms. Rosenblum to you sent at approximately 9:00 a.m. on              1   refer to your call as occurring on or about January
 2     January 13th, 2017. Do you see that?                                 2   13th. Okay?
 3        A Yes.                                                            3      A Yes.
 4        Q And Ms. Rosenblum states, "It appears I missed                  4      Q Thank you. So it's your testimony on behalf
 5     a call from you last night." Do you see that?                        5   of Earl of Sandwich (Atlantic City) that on January
 6        A Yes.                                                            6   13th, you told Ms. Rosenblum that the deal would not
 7        Q Do you have any reason to dispute that you                      7   proceed until you had received certain approvals,
 8     called Ms. Rosenblum?                                                8   correct?
 9        A No.                                                             9      A On this call or another call. I don't --
10        Q And at the top of this page is an e-mail from                  10      Q You believe you had more than one call with
11     Ms. Rosenblum on January 16th, 2017. Do you see that?               11   Ms. Rosenblum?
12        A Yes, sir.                                                      12      A I don't recall.
13        Q And by this e-mail Ms. Rosenblum again                         13      Q So is there a reason -- do you believe that
14     forwards you the draft document; is that correct?                   14   the call that occurred on or about January 13th was the
15        A (Reviewing document.) Yeah, based on the                       15   first call you had with Ms. Rosenblum prior -- or after
16     header, it looks like there was an attachment attached              16   she had sent you the draft agreement?
17     to it, yes.                                                         17      A (Reviewing document.) I really don't recall
18        Q If you turn the page, can you see if there's                   18   when -- the dates of calls or the time I don't recall.
19     an attachment to this e-mail, please?                               19      Q So before -- but you did speak to
20        A Yes.                                                           20   Ms. Rosenblum before she --
21        Q And do you have any reason to believe that the                 21      A Yes.
22     draft Ms. Rosenblum sent you on January 16th is                     22      Q -- sent you the draft agreement on January
23     different than the e-mail she sent you on January 12th?             23   16th?
24        A No. I didn't review it.                                        24      A Yes.
25        Q And would it surprise you to receive an e-mail                 25      Q And despite the fact that you had told her


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 1     from Ms. Rosenblum that didn't reflect the conditions                1   that you had certain conditions precedent to closing the
 2     that you mentioned to her on your phone call sometime in             2   deal, she did not include those conditions in the draft
 3     the range of January 12th to January 14th of 2017?                   3   agreement she sent you on January 16th; isn't that
 4        A No.                                                             4   correct?
 5        Q Why not?                                                        5      A Correct.
 6        A Because I wouldn't expect the agreement to                      6      Q But those conditions, in your mind, didn't
 7     have those conditions in there. That would be something              7   need to be included in the draft because they were only
 8     that would take care of itself when I was -- they were               8   things for you to worry about; is that true?
 9     my conditions that, you know, if things were acceptable,             9      A No. Those are things that would be settled
10     would be silent.                                                    10   before I will be in a position to be able to sign it.
11        Q So is it -- so let's go back. Do you now                       11      Q And does this draft agreement contain any
12     having looked at this e-mail believe that you had a                 12   conditions precedent to closing for any party on -- on
13     phone conversation with Ms. Rosenblum sometime between              13   behalf of any party?
14     January 12th and January 16th, 2017?                                14          MR. CHUBAK: Objection. The document speaks
15        A I don't recall.                                                15      for itself.
16        Q So when Ms. Rosenblum said, "I wanted to                       16      A This is not a document that I would have
17     follow up on our call late Friday," do you think that               17   signed.
18     you did not, in fact, have a call with Ms. Rosenblum on             18      Q That's not my question to you.
19     Friday?                                                             19      A Okay.
20        A No. Okay. All right. There's no reason to                      20      Q So why would an agreement only protect one
21     believe that we didn't have a call.                                 21   side -- one party and not both?
22        Q And I'll represent to you that January 16th,                   22      A Don't understand the question.
23     the date of her e-mail, was a Monday. January 16th,                 23      Q Is it your testimony that the draft document
24     2017 was a Monday, and so January 14th -- so the Friday             24   doesn't contain any conditions precedent to closing?
25     would have been probably January 13th, so we're going to            25          MR. CHUBAK: Objection. The document speaks


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 1         for itself.                                                       1   Ms. Rosenblum on January 16th, what did you do?
 2         A I'd have to -- give me a minute to read the                     2      A I don't believe I did anything.
 3     document, and I'll let you know if there's anything in                3      Q And you didn't contact Ms. Rosenblum in
 4     it.                                                                   4   response to this e-mail; is that correct?
 5         Q But at the time that you reviewed this                          5      A I don't recall.
 6     document in January of 2017, did you understand there to              6      Q You didn't send her an e-mail saying "trying
 7     be any conditions precedent to closing as reflected in                7   to get those approvals that I told you about," did you?
 8     the document?                                                         8      A I wasn't in a position to ask for the
 9         A I'll have to read the document and let you                      9   approvals yet.
10     know.                                                                10      Q Why weren't you in a position to ask for the
11         Q I'm not asking you about what it says today.                   11   approvals yet?
12     I'm asking about your understanding in January of 2017.              12      A Because I didn't have an agreement. I didn't
13         A It's my understanding in January that this                     13   have the complete terms and understanding of what was
14     document had to be negotiated heavily.                               14   going to be considered as part of the sale, what we were
15         Q What was that understanding based off of?                      15   receiving, and as far as timing.
16         A My initial review of the document.                             16      Q So you received from Cowen Special Investments
17         Q But it was not based off of anything that you                  17   a ten-page draft agreement. What terms remained to be
18     communicated to Cowen; isn't that correct?                           18   completed in that agreement?
19         A No. I hadn't -- hadn't -- hadn't proceeded                     19      A Well, I would not have signed this agreement.
20     that far.                                                            20   I didn't like the indemnities. I didn't like the fact
21         Q But you had conversations with Cowen, that's                   21   that -- with some of the reps and warranties. I didn't
22     correct, isn't it?                                                   22   do any, you know, haven't done any specific -- I hadn't
23         A As part of the negotiations, yes.                              23   done any research about holding on it, whether there was
24         Q And Cowen in its communications with you                       24   any claims against it and everything was free and clear.
25     stated that it had certain things that it needed to                  25   I didn't like the idea that they could pay late and not


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 1     finalize; isn't that true? That the agreement was                     1   pay me at closing and just pay an 8 percent interest
 2     subject to due diligence; isn't that true?                            2   rate on it.
 3        A Correct.                                                         3          There was certain things about this. It was
 4        Q And Cowen had every right to waive those                         4   complex and it -- to me it was something that wasn't in
 5     conditions; isn't it true?                                            5   a position that I could give to Mr. Earl with confidence
 6            MR. CHUBAK: Objection, calls for a legal                       6   and say here's the deal.
 7        conclusion.                                                        7      Q So the fact that you didn't like the terms
 8        Q Mr. Avallone, you're a sophisticated                             8   proposed by Cowen didn't mean that the terms weren't
 9     businessman, aren't you?                                              9   complete, correct?
10        A In certain areas.                                               10      A It means I wouldn't have signed a deal with
11        Q You have an MBA, don't you?                                     11   them under these terms.
12        A I do.                                                           12      Q That's not the question. What you testified
13        Q You regularly negotiate transactions; isn't                     13   earlier was that the terms hadn't been completed. In
14     that true?                                                           14   fact, the terms had been completed. You just decided
15        A Yes.                                                            15   that you didn't like them; isn't that correct?
16        Q And you review contracts all the time in                        16          MR. CHUBAK: Objection, asked and answered and
17     connection with your responsibilities to negotiate                   17      calls for a legal conclusion.
18     transactions on behalf of companies owned and controlled             18          MS. LEWIS-GRUSS: His decision is not calling
19     by Robert Earl; isn't that true?                                     19      for a legal conclusion. He's already testified
20        A I review contracts, but I also send everything                  20      he's not a lawyer. Mr. Chubak, I'm going to
21     to our legal department before.                                      21      continue to ask the questions I want to ask. I
22        Q But you would make it -- you review them on                     22      suggest that you not make objections unless they
23     your own, as you've just testified?                                  23      have foundation.
24        A Yes.                                                            24      A Could you repeat the question?
25        Q So upon receiving this e-mail from                              25          MS. LEWIS-GRUSS: Could you please read back


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 1        the question?                                                 1      Q And that document bears the Bates Nos. Earl 61
 2            (The record was read back as requested.)                  2   through Earl 72. Do you see that?
 3        A No, the terms hadn't been completed.                        3      A 61 to when?
 4        Q What -- again, what terms hadn't been                       4          THE REPORTER: 72.
 5     completed?                                                       5      A Yes.
 6        A Timing of payments, the amount of the                       6      Q And by this e-mail, Ms. Rosenblum again sends
 7     contingencies, the reps and warranties.                          7   you the draft document; isn't that correct?
 8        Q How did you memorialize your concerns with the              8      A Yes.
 9     terms in this agreement?                                         9      Q And Ms. Rosenblum in her e-mail says there's
10        A I didn't.                                                  10   additional time for your review of the document. Do you
11        Q And you didn't convey those concerns to Cowen;             11   see that?
12     isn't that correct?                                             12      A Yes.
13        A As part of the negotiations, no, I did not.                13      Q And she doesn't say in this e-mail, you know,
14        Q And it's your testimony that when you received             14   that you only have until a certain date to accept; isn't
15     this specific draft on January 16th, there were no              15   that correct?
16     further negotiations; isn't that correct?                       16      A Yes.
17        A Correct.                                                   17      Q And she doesn't say "If I don't hear back from
18        Q And in response to receiving this draft, you               18   you, we'll consider the deal as lost," does she?
19     didn't tell Ms. Rosenblum or anyone else at Cowen               19      A Not in this e-mail.
20     Special Investments that you needed to obtain the               20      Q And as you sit here today, you don't know the
21     approval of Robert Earl; isn't that correct?                    21   date of the e-mail that you believe exists in which
22        A I don't believe that's correct.                            22   Ms. Rosenblum said you have until a certain time to
23        Q You don't believe it's correct?                            23   accept?
24        A No. I had told them about the approval of                  24      A It was a week or so after this.
25     Mr. Earl at some point.                                         25      Q Okay. Well, I'm going to ask your counsel to


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 1        Q But you -- do you have reason to believe that               1   find that because I don't believe any such e-mail was
 2     that happened after you received the e-mail that you             2   produced to us.
 3     have in front of you that's been marked as Exhibit 59?           3          In this e-mail, Ms. Rosenblum says that she
 4        A I don't recall when.                                        4   left a message with Lori on January 17th, 2017. Do you
 5        Q So as you sit here today, when do you believe               5   see that?
 6     the negotiations with Cowen came to a conclusion?                6      A Yes.
 7        A I think from probably sometime after this or                7      Q Who's Lori?
 8     right around this time and got confirmation from Gail            8      A Lori's my assistant.
 9     that said "If I don't hear from you, I'm going to assume         9      Q Did you speak to Ms. Rosenblum on January 17th
10     you're no longer interested," and I didn't respond.             10   after receiving her e-mail?
11        Q And when did that occur?                                   11      A I don't recall.
12        A I don't recall exactly the date.                           12          MR. CHUBAK: The referenced e-mail was January
13        Q And did there come a time when Cowen informed              13       18th, 9:33 a.m. It's included in the transcript
14     you that you did have a deal?                                   14       claim.
15        A Yes.                                                       15      Q So that's not a week later, is it? January
16        Q And what form did that communication take                  16   18th wouldn't be a week later, would it?
17     place or in what form did that communication come?              17      A It's somewhere around there. It's sometime
18        A I believe I got a letter from someone at                   18   after that, within the week.
19     Cowen.                                                          19      Q So Ms. Rosenblum sends you this e-mail on
20            MS. LEWIS-GRUSS: Let's mark this, please.                20   January 17th with the draft document. That draft
21            (Avallone Exhibit No. 60 was marked.)                    21   document does not, in fact, say -- I mean, that draft
22     BY MS. LEWIS-GRUSS:                                             22   document does not reference the conditions that you had
23        Q So after Ms. Rosenblum -- do you have in front             23   allegedly conveyed to Ms. Rosenblum; isn't that correct?
24     of you what's been marked as Exhibit 60?                        24      A Correct. But she does say working with our
25        A Yes.                                                       25   counterparts and negotiate a mutually agreeable


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 1     agreement, so it --                                               1   12th and January 17th?
 2        Q And what --                                                  2     A Again, this was not a transaction in my mind
 3        A -- could easily have applied to conditions                   3   that, you know, something was being sold and we had to
 4     that needed to be there.                                          4   get the documents done very quickly. This was a
 5        Q And what steps did you take to mutually                      5   negotiation, and if it wasn't going to take place today,
 6     negotiate those terms?                                            6   you know, we had time to complete this.
 7        A None.                                                        7     Q But Cowen --
 8        Q And did you inform Ms. Rosenblum that you                    8     A Cowen was the one who were saying that there
 9     would not be taking any steps to mutually negotiate               9   was -- they were under some time pressure.
10     those terms?                                                     10     Q Right. So, in fact, Cowen told you you didn't
11        A No, because in my mind, the negotiations --                 11   have a waiting period, that you needed to move quickly
12     wasn't negotiating anymore.                                      12   on this deal, correct?
13        Q And did you convey what was in your mind to                 13     A They believed that, yes.
14     anyone at Cowen Special Investments?                             14     Q And you continued to negotiate with them
15        A Nope.                                                       15   understanding that they believed the deal needed to
16        Q And in the course of your business                          16   conclude on or about January 16th or 17th, even though
17     negotiations, is that how you normally conclude                  17   you knew there was no way for you to obtain the
18     transactions?                                                    18   approvals within that time period; is that correct?
19           MR. CHUBAK: Objection, vague.                              19     A That is correct.
20        A It's not a transaction. This was a                          20     Q So the waiting period that you just testified
21     negotiation.                                                     21   under oath existed only existed in your mind; is that
22        Q Do you normally conclude negotiations in the                22   correct?
23     course of your business dealings in which -- by just             23     A It was a period -- yeah.
24     walking away?                                                    24     Q Did you -- after Ms. Rosenblum sent you the
25        A Sometimes.                                                  25   document, did you speak to anybody at Cowen Special


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 1        Q In what situations do you conclude                           1   Investments other than Ms. Rosenblum?
 2     negotiations by walking away without informing your               2      A After when?
 3     counter party that you're no longer interested in                 3      Q After Ms. Rosenblum began e-mailing you, did
 4     continuing negotiations?                                          4   you speak to anybody else at Cowen Special
 5        A It's just not at that particular -- usually                  5   Investments --
 6     we'll come back if there was a period of just -- a                6      A Don't --
 7     waiting period. I wasn't rushing forward on it and at             7      Q -- besides Ms. Rosenblum?
 8     some point just stopped negotiating.                              8      A Don't recall.
 9        Q So is it your testimony that you -- that in                  9      Q Do you know -- and if you look at this e-mail,
10     your mind, the negotiations concluded -- the                     10   there is somebody named John Mori copied on that e-mail.
11     negotiations with Cowen concluded or is it that you were         11   Do you know who that is?
12     taking your time to consider the terms proposed in the           12          THE REPORTER: John what?
13     draft agreement?                                                 13          MS. LEWIS-GRUSS: Mori, M-O-R-I.
14            MR. CHUBAK: Objection, asked and answered.                14      A No.
15        A No. What I'm saying is that I did not have to               15      Q Did you have any communications with Mr. Mori?
16     because in the e-mail that I'm referring to later, which         16      A Not that I'm aware of.
17     counsel has told me is the 18th now, which she says, you         17          (Avallone Exhibit No. 61 was marked.)
18     know, if I don't hear from you I'm assuming we're not            18      Q Mr. Avallone, you've been handed what's been
19     doing business anymore, that's how it concluded.                 19   marked as Exhibit 61, which is an e-mail bearing the
20        Q So what did you mean when you said there was a              20   Bates stamps Earl 258 to Earl 261. Do you see that?
21     waiting period in your answer to my last question?               21      A Yes.
22        A Well, I'm just saying nothing happened between              22      Q And at the bottom of this page is the January
23     when I received the first draft and January 17th.                23   18th e-mail that your attorney testified to; is that
24        Q Why did you believe there was a waiting period              24   correct?
25     between the time you received the first draft on January         25          MR. CHUBAK: I'm not under deposition, just


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 1         for the record.                                                 1      A No.
 2            MS. LEWIS-GRUSS: But you are providing                       2      Q Did you speak to Mr. Earl and advise him that
 3         testimony, apparently, on the record.                           3   you had received an offer?
 4     BY MS. LEWIS-GRUSS:                                                 4      A No.
 5        Q So at the bottom of this page, is there an                     5      Q So when you -- so is it your testimony that
 6     e-mail that you received from Ms. Rosenblum on January              6   you decided not to move forward with the negotiations
 7     18th, 2017?                                                         7   for the sale of Claim 5858 when you received
 8        A Yes.                                                           8   Ms. Rosenblum's e-mail on January 18th, 2017?
 9        Q And this is an e-mail which Ms. Rosenblum                      9      A I'm sorry. Could you repeat that?
10     said, "Would you kindly advise by noon Eastern time                10      Q Is it your testimony that the date on which
11     today if you plan to move ahead with the transaction";             11   you decided not to move forward with the negotiations
12     is that correct?                                                   12   for the sale of Claim 5858 was January 18th, 2017, the
13        A Yes.                                                          13   date on which you received Ms. Rosenblum's e-mail?
14        Q And you didn't respond to this e-mail; is that                14      A I think that was where it was finally
15     correct?                                                           15   concluded.
16        A Yes.                                                          16      Q So up until that point, it's your testimony
17        Q And despite having said that to you on January                17   the negotiations were ongoing?
18     18th, Ms. Rosenblum actually contacts you again on                 18          MR. CHUBAK: Objection, asked and answered.
19     January 24th and says that there's more time and that              19      A Yeah. There was little, if any, activity from
20     you could still consider the transaction; isn't that               20   the date I received the first assignment.
21     correct?                                                           21      Q And that's because you chose not to take any
22        A Yes.                                                          22   steps to obtain the approvals that you claim were
23        Q And did you respond to Ms. Rosenblum's January                23   necessary for closing this transaction; isn't that
24     24th e-mail at any time prior to the conclusion of                 24   correct?
25     January 2017?                                                      25          MR. CHUBAK: Objection, misstates testimony.


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 1        A I don't believe so.                                            1      A It was -- there was nothing to dis -- the
 2        Q And why not?                                                   2   negotiations -- nothing further happened. There were no
 3        A Because she's already said on January 18th                     3   further negotiations at that point.
 4     that, you know, negotiations are ended and no longer --             4      Q So when Brad Schwab agreed to your price term
 5     that I was no longer interested, so we confirmed that we            5   of 2.15 million dollars on January 12th, 2017, did you
 6     were no longer negotiating. And I took this e-mail on               6   convey that information to Mr. Earl?
 7     the 24th to mean, "Hey, good news. You're not under                 7      A No, I did not.
 8     time pressure. If you want to come back and talk to us,             8      Q Why not?
 9     we can start negotiations again."                                   9      A Because it wasn't a -- it wasn't a
10        Q And so what does that mean that you took this                 10   transaction -- wasn't in a position where I would take
11     e-mail to mean, "Hey, good news you're not under time              11   it to Mr. Earl because there's more involved than just
12     pressure, if you want to come back, we can start                   12   the price. There's --
13     negotiations again," what does that mean to you?                   13      Q So you don't -- so Mr. Earl would not have
14        A She said, "We have been in touch with the                     14   been interested in learning that somebody had offered
15     claims agent and an attorney, and although the plan was            15   you 2.15 million dollars to purchase Claim 5858?
16     confirmed, it's not yet effective, and the agent is                16      A He might have been interested.
17     still transferring Caesars's claims. The attorney                  17      Q And it's not your job responsibility to keep
18     stated this typically takes a while for the effective              18   Mr. Earl informed of offers to purchase assets of Earl
19     date conditions in the plan to be satisfied. Should you            19   of Sandwich?
20     wish to speak further regarding the sale of the claim, I           20      A No, that's something that I would normally do.
21     hope you will contact Brad or me." So I took that to               21      Q And yet you didn't do that in this case; isn't
22     mean that there was more time and we could start up                22   that correct?
23     negotiations again.                                                23      A I would keep Mr. Earl informed of the prices
24        Q And did you take any steps to start up                        24   from time to time, and if there was -- after I had
25     negotiations again?                                                25   gotten information. I believe I did tell Mr. Earl that,


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 1     you know, we're being offered in the neighborhood of 2.2        1   negotiated purchase and sale agreement.
 2     million or 2.1 million, something like that, at some            2      Q Did you convey that expectation to Cowen?
 3     point in time.                                                  3      A No.
 4        Q So when I asked you so when Brad Schwab agreed             4      Q And when did you convey to Cowen that there
 5     to your price term of 2.15 million dollars on January           5   were certain contingencies that were material to you?
 6     12th, 2017, did you convey that information to Mr. Earl,        6          MR. CHUBAK: Objection, asked and answered.
 7     you said, no, I did not, are you changing that                  7      A I didn't. The transaction hadn't progressed
 8     testimony?                                                      8   far enough to -- to even consider putting certain of
 9        A No, I did not. At the time I did not.                      9   those terms in there.
10        Q But --                                                    10      Q And when did you convey to Cowen -- strike
11        A What I -- what I said was the 2.15 million to             11   that.
12     Brad was a number that I think that subject to getting         12          But you had agreed with Cowen on the material
13     everything else done and a signed document -- and a            13   term of price; isn't that correct?
14     document ready for signature that I could bring it to          14      A Price only. I thought that was a number that
15     Mr. Earl and get his approval to do the transaction.           15   I could present to Robert that he would actually -- he
16     His approval, I should say, or get his decision on             16   would consider.
17     whether or not he wants to do the transaction.                 17      Q But you didn't actually present that number to
18        Q And you said that to Brad? Is that what --                18   Robert --
19        A No, no.                                                   19      A Nope.
20        Q -- you're testifying to?                                  20      Q -- in January of 2017?
21        A I'm just saying -- you asked me about the 2.1             21      A Nope.
22     million and what happened. I just said that I would be         22          THE VIDEOGRAPHER: Ms. Lewis-Gruss, we have
23     in a position after the whole document's complete to go        23      about five minutes on this disk.
24     to Mr. Earl and get a decision.                                24          MS. LEWIS-GRUSS: We can switch it now. That
25        Q So you were authorized to negotiate the                   25      is fine.


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 1     complete terms of this agreement prior to obtaining             1           THE VIDEOGRAPHER: This concludes Disk No. 1
 2     Mr. Earl's approval?                                            2       in the deposition of Thomas Avallone. The time is
 3           MR. CHUBAK: Objection, misstates testimony.               3       11:38 a.m. We are off the record.
 4        A Typically, I would get a transaction to a                  4              (A 5-minute recess was had.)
 5     stage where it would be ready for signature or at least         5           THE VIDEOGRAPHER: This is the beginning of
 6     terms that I would be happy with. And once I was happy          6       Disk No. 2 in the deposition of Thomas Avallone.
 7     with all of the terms and conditions and all the                7       The time is 11:43 a.m. We are on the record.
 8     consequences of the deal, I would bring the full package        8   BY MS. LEWIS-GRUSS:
 9     to Mr. Earl to get his approval before I proceed.               9      Q So is it your testimony that at some point in
10        Q So you would engage Cowen's time and resources            10   January 2017 you told Cowen that you required the
11     negotiating with you without having any idea whether the       11   approval of Mr. Earl before completing this transaction?
12     ultimate terms might be acceptable to Mr. Earl; is that        12      A Yes.
13     your testimony?                                                13           MR. CHUBAK: Objection, asked and answered.
14           MR. CHUBAK: Objection, mischaracterizes.                 14      Q Did you tell Cowen that you would not take any
15        A I would wait till the deal is -- is -- I would            15   steps to obtain the approval of Mr. Earl during January
16     wait till a transaction is further -- far enough along         16   2017?
17     before I brought it to Mr. Earl because it makes no            17      A No. It was -- the negotiations weren't that
18     sense to bring him a transaction that was incomplete.          18   far along to where I thought it was appropriate to bring
19        Q What were the material terms of this                      19   to Mr. Earl.
20     transaction to you, in your mind?                              20      Q My question was not about whether you thought
21        A Price, contingencies, payment terms, how it               21   it was appropriate. My question was whether you
22     affected the standing on the unsecured committee.              22   informed Cowen that you had not brought the transaction
23        Q And when did you convey to Cowen that the                 23   to Mr. Earl. So in January 2017, did you inform Cowen
24     payment terms were material to you?                            24   that you had not brought the transaction to Mr. Earl?
25        A I didn't, but I expected it to be in a -- in a            25      A No.


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 1        Q And in 2017, is it -- did you tell Cowen that                1   earlier, but at some point you received an e-mail from
 2     the deal could not go forward until you had discussed             2   a Mr. -- or a note from a Mr. Seyfried?
 3     the draft agreement with legal counsel?                           3      A Yes.
 4        A Could you repeat that?                                       4      Q Do you know when that happened?
 5        Q In 2017 -- in January 2017, did you tell Cowen               5      A I'm not sure of the timing. Sometime before
 6     the deal could not go forward until you had discussed             6   the 28th of February.
 7     and obtained the approval of Earl of Sandwich (Atlantic           7      Q And you know that because you sent a response
 8     City)'s legal counsel?                                            8   on February 28th; is that correct?
 9        A The negotiations wouldn't continue. I didn't                 9      A Yes, correct.
10     tell Cowen that I didn't send the documents to the legal         10      Q And that response is set out in what's been
11     department.                                                      11   previously marked as Exhibit 61?
12        Q Thank you. I think you were trying to answer                12      A Yes.
13     my next question, which I appreciate, but my question is         13          (Avallone Exhibit No. 62 was marked.)
14     did you tell Cowen that legal counsel's approval was             14      Q Mr. Avallone, you've been handed what's been
15     required of any deal?                                            15   marked as Exhibit 62. Do you have that in front of you?
16        A No.                                                         16      A Yes.
17        Q And you also, as you just testified, didn't                 17      Q I represent to you that this document was
18     tell Cowen that you had not brought the draft agreement          18   filed with the court, which is why it has a header on
19     or any subject of the negotiations to Earl of Sandwich's         19   the top that states a file date. Do you see that?
20     legal counsel; is that correct?                                  20      A Yes.
21        A Yes.                                                        21      Q And when you received this document from
22        Q And is it correct that in January 2017 -- at                22   Mr. Seyfried, it didn't have that header, I would
23     some point in January 2017 you told representatives of           23   assume; is that correct?
24     Cowen that you needed to determine how this proposed             24      A Correct.
25     transaction would affect Earl of Sandwich's standing on          25      Q I will represent to you that this document was


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 1     the unsecured creditors committee before you agreed to            1   not found in the production made by your counsel in this
 2     enter into -- or you agreed to sign the draft agreement?          2   action --
 3        A Could you repeat that, please?                               3      A Correct.
 4        Q So as you sit here today, is it your testimony               4      Q -- so we do not have a copy. I was making a
 5     that at some point in January 2017 you told                       5   representation, but are you -- were you aware that this
 6     representatives of Cowen Special Investments that you             6   document was not in the production of Earl of Sandwich?
 7     needed to obtain more information from the unsecured              7      A Yes.
 8     creditors committee regarding how this deal would impact          8      Q And how are you aware of that fact?
 9     Earl of Sandwich's standing on that committee before you          9      A Because I was looking for the document and I
10     could proceed?                                                   10   couldn't find it.
11        A Before I -- before any -- before I would be in              11      Q And how did you receive this document?
12     a position to sell any claim, I needed to understand how         12      A I believe it was by mail.
13     selling the claim would affect my standing on the                13      Q And it does have your e-mail address listed on
14     unsecured creditors committee.                                   14   it as well. Do you see that?
15        Q And did you tell Cowen that?                                15      A Yes.
16        A Yes.                                                        16      Q So do you believe you didn't receive it by
17        Q And did you tell Cowen that you would not be                17   e-mail?
18     taking any steps to determine how selling the claim              18      A I don't believe I received it by e-mail.
19     would affect your standing on the unsecured creditors            19      Q And are you aware of the record retention
20     committee?                                                       20   policy of your company?
21        A Not as part of the negotiations at that time.               21      A Yes.
22        Q Did you tell them that as part of any other                 22      Q And with regard to hard copy documents on hard
23     communication?                                                   23   copy correspondence, for what length of time are you
24        A No.                                                         24   required to maintain a record?
25        Q We started to talk about this a little bit                  25      A It depends on the record, but anywhere from


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 1     three to five years.                                                1   sale of Claim 5858 would impact Earl of Sandwich's
 2        Q And so you did have a duty to maintain a hard                  2   standing on the unsecured creditors committee; is that
 3     copy of this document if you, in fact, received it in               3   correct?
 4     hard copy form, correct?                                            4      A No. I thought the e-mail -- her e-mail to me
 5        A I would have liked to have kept a copy of it.                  5   saying that the deal's over unless I hear from you was
 6        Q But you did search your files for it --                        6   sort of enough, and I just wanted to emphasize the fact
 7        A Yes.                                                           7   was -- plus, I needed approval from Robert. I could
 8        Q -- and you didn't find it? At the time you                     8   have also added we never had a signed document, we never
 9     received this letter, did you contact your legal                    9   negotiated agreements, we never got the approval in, but
10     department?                                                        10   I didn't add that. I thought it was self-explanatory,
11        A I believe I did.                                              11   the e-mails.
12        Q And solely for the purposes of identifying                    12      Q So, again, when you responded -- so when
13     where this document might be in the records of Earl of             13   you -- so you sent an e-mail to Ms. Rosenblum on
14     Sandwich, do you believe you provided a copy of this               14   February 28th that was intended to respond to a letter
15     document to legal counsel by e-mail?                               15   you had received from Mr. Seyfried on February 22nd,
16        A I did not.                                                    16   correct?
17        Q And do you know for a fact that you did not                   17      A I'm sorry. Could you -- could you repeat
18     provide a copy by e-mail?                                          18   that?
19        A Yes.                                                          19      Q You received a -- you received the document
20        Q Do you believe you provided legal counsel with                20   that's been marked as Exhibit 62 --
21     a hard copy?                                                       21      A Right.
22        A I actually think the general counsel at the                   22      Q -- by mail from Mr. Seyfried sometime after he
23     time came into my office and we discussed it.                      23   sent it to you on February 22nd, 2017?
24        Q Who was the general counsel at the time?                      24      A Yes.
25        A Martha McIntosh.                                              25      Q In response to receiving that letter, you sent


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 1        Q Do you believe you gave the original of the                    1   an e-mail to Ms. Rosenblum on February 28th, 2017?
 2     document to Ms. McIntosh?                                           2      A Correct.
 3        A No.                                                            3      Q In that e-mail to Ms. Rosenblum, the only
 4        Q And why do you not believe that happened?                      4   condition to closing that you specifically stated was
 5        A Because I think we just discussed it briefly,                  5   that you had always told her that any sale would require
 6     and I wrote my response to Gail.                                    6   approval -- would require approval from the owner of the
 7        Q And that response is what is set out in                        7   business, correct? It's a yes or no question.
 8     Exhibit 61 at the top of the page?                                  8      A Well, not if you ask it that way.
 9        A Yes.                                                           9      Q There are words on this page. Are the words
10        Q And why did you respond to Gail rather than                   10   on this page written by you, "Dear Gail, I received a
11     Mr. Seyfried?                                                      11   note from Bryan Seyfried alleging that we had a deal to
12        A Because I didn't know Mr. Seyfried and I had                  12   sell our claim. Please note that it is not true, as
13     been communicating earlier with Gail, and I wanted to              13   indicated by your e-mail below. I always stated that
14     show Gail that, you know, look at the correspondence. I            14   any sale would require approval from the owner of the
15     never thought we had a deal. I never agreed to any kind            15   business. Regards, Tom."
16     of deal. We were in negotiations. Negotiations ended.              16      A Yes.
17     Look, your own document said we're finished. Why are               17      Q That e-mail does not say "I always stated that
18     you telling me that there's a deal now.                            18   any sale would require approval or further understanding
19        Q And in your e-mail to Gail sent on February                   19   of how any sale would impact Earl of Sandwich's standing
20     20 -- February 28th, you said, "I always stated that any           20   on the unsecured creditors committee." Yes or no?
21     sale would require approval from the owner of the                  21      A Correct.
22     business"; is that correct?                                        22      Q That -- your February 28th, 2017, e-mail does
23        A Yes.                                                          23   not state that any deal was subject to further
24        Q But you did not say that you had also stated                  24   negotiation regarding the payment terms, correct?
25     that it would require you to do research as to how a               25      A We never had a deal.


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 1        Q That's not my question. I'm asking you a very               1      Q So that was nonresponsive, but I appreciate
 2     specific question regarding the text of this e-mail.             2   you providing me with more context. Again, you receive
 3     This e-mail does not state that you had previously told          3   a letter from Mr. Seyfried. This letter was
 4     Ms. Rosenblum or anyone else at Cowen that any deal was          4   insufficient to notify -- in February of 20 -- sometime
 5     subject to further negotiation regarding the payment             5   after February 22nd, 2017. This letter was insufficient
 6     terms, correct?                                                  6   to notify you that there was a dispute?
 7        A Correct.                                                    7      A I thought it was cleared up.
 8        Q And this e-mail does not state that you had                 8      Q Why did you believe it was cleared up?
 9     always told Cowen that any sale of Claim 5858 was                9      A Because I sent the note to Gail spelling it
10     subject to further negotiations over the contingencies?         10   all out, and I did not receive a response disputing what
11        A We never had a deal. It was negotiations                   11   I told her.
12     that -- if you take out the word "deal" and you put in          12      Q And you didn't have further involvement of
13     the word "negotiations," I think the answer is yes.             13   legal counsel?
14        Q So using your terminology, this e-mail does                14      A Nope.
15     not state that you had always told Cowen that finalizing        15      Q And it is -- is it traditional that when you
16     your negotiations for any sale of Claim 5858 was subject        16   would receive something -- well, how would you
17     to further negotiations over the contingencies?                 17   characterize the February 22nd, 2017, letter?
18        A Yes.                                                       18      A A letter from somebody in Cowen requesting
19        Q What were those contingencies?                             19   some information that got cleared up when I sent the
20        A Getting a signed -- a mutually agreeable                   20   note to Gail saying that this is wrong, you know,
21     signed purchase and sale agreement, getting approval            21   explain to this person that there's -- that we never had
22     from Mr. Earl, and getting understanding what the               22   a deal.
23     ramifications of the sale of the claim would be to me           23      Q Would you consider this to be notice of a
24     on -- as a member of the unsecured creditors committee.         24   dispute -- this February 22nd, 2017, letter to be notice
25        Q And on February 28th, 2017, when you                       25   of a dispute?


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 1     informed -- when you sent this e-mail to Ms. Rosenblum,          1      A I guess it's a dispute.
 2     you did not inform her that you had taken no steps to            2      Q And so it's not your practice to notify Mr.
 3     complete those stated contingencies; is that correct?            3   Earl when you're advised of a dispute?
 4        A By her own e-mails, the negotiations had --                 4      A Not -- not one that I thought was resolved.
 5     were already -- had ended.                                       5      Q And you have authority to attempt to resolve
 6        Q On February 28th, 2017, when you sent an                    6   disputes; is that correct?
 7     e-mail to Ms. Rosenblum, did you state in that e-mail            7      A Yes.
 8     that you had taken no steps to complete the                      8      Q And it's not your practice to have legal
 9     contingencies that you identified?                               9   counsel handle responses to notices of potential or
10        A Correct.                                                   10   actual disputes; isn't that correct?
11        Q So at any point after receiving Mr. Seyfried's             11      A No, that's not true.
12     letter, did you discuss this dispute with Mr. Earl?             12      Q So is it your practice to have legal counsel
13        A After -- probably sometime in April or May.                13   handle responses to notices of potential or actual
14        Q So it's not your practice upon receiving a                 14   disputes?
15     letter from a third-party saying "we had a deal" that           15      A When it's a significant dispute or one that --
16     you would bring that to Mr. Earl's attention?                   16   a serious dispute, one that I think that could cause --
17        A No, because it was very obvious from Gail's                17   cause damage. Like I said, this is -- you know, I
18     own admission that we didn't have a deal. We had                18   thought this was over and done with, you know, by virtue
19     negotiations. Negotiations ended. And I never received          19   of the e-mails. We never had a deal. There was
20     this response from Gail, so I assume that she took my           20   negotiations. Negotiations ended. And, you know, Gail
21     note and I didn't know there was an issue until probably        21   by her own admission says, "We never had a deal and
22     sometime in May and June, when after speaking to another        22   would you like to continue to speak on terms? Would you
23     potential buyer of the claim that there was a company           23   like to move forward?" And so it was -- there was no
24     called Whitebox that was alleging some kind of interest         24   dispute.
25     in it.                                                          25      Q Please identify where Ms. Avallone -- where


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 1     Ms. Rosenblum says "We never had a deal."                       1      Q Did you take any steps in March 2017 to make
 2        A "Should you wish to speak further regarding                2   sure that there was no further dispute between Cowen and
 3     the sale, I hope you will contact us. If I don't hear           3   Earl regarding Claim 5858?
 4     from you, I'm going to assume you don't want to proceed         4      A No, because I thought it was over. I had
 5     forward."                                                       5   never received any response from Gail.
 6        Q So that the record's clear, could you identify             6      Q You testified earlier that in February 2017
 7     the exhibit number and the date and time of the e-mails         7   you advised Mr. Earl that you had received an offer for
 8     to which you're referring to?                                   8   2.15 million dollars for the purchase of Claim 5858.
 9        A Okay. The January -- Exhibit 61, the January               9   Who was that offer from?
10     24th memo, third paragraph, "Should you wish to speak          10      A It's probably this offer, I would imagine --
11     further regarding the sale of the Earl of Sandwich             11      Q But --
12     claim, I hope you will contact Brad or me."                    12      A -- from a valuation standpoint.
13           On the January 18th memo, again, this is the             13      Q What does that mean?
14     second paragraph, "Would you kindly advise by noon             14      A Well, I think, you know, from time to time I
15     Eastern time if you plan to move ahead with this               15   would send Robert notes after speaking to various people
16     transaction? We will assume you are no longer                  16   who were looking to buy the claim, what they were
17     interested."                                                   17   offering verse, you know, what they were offering, that
18             On the January 17th e-mail, in the third               18   I would get an indication of what the recovery
19     paragraph where it says, "We initially anticipated that        19   percentages were, and I would relay that information to
20     confirmation would prevent us from proceeding. However,        20   Mr. Earl.
21     we are able to move forward to complete a transaction as       21      Q So Mr. Earl was interested in understanding
22     we're no longer under a tight deadline. There's                22   what the recovery percentages were in February of 2017?
23     additional time to look at the documents."                     23      A He was always interested in what the recovery
24           On the January 12th e-mail, she says to follow           24   was going to be.
25     up, a chance to review the agreements.                         25      Q And so he would want to know if you received


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 1        Q So your testimony earlier was that                         1   an actual offer for the sale of the claim; isn't that
 2     Ms. Rosenblum said "We never had a deal." Ms. Rosenblum         2   true?
 3     never actually used the words "we never had a deal";            3          MR. CHUBAK: Objection, vague, and asked and
 4     isn't that true?                                                4       answered.
 5        A Not in those words.                                        5      A If it was an offer that was -- that -- if
 6        Q And Ms. Rosenblum never informed you that you              6   there was an offer that was out there and finished, I
 7     had not reached agreement or that -- Ms. Rosenblum never        7   would have presented it to him.
 8     stated to you that Cowen believed it had not reached            8      Q But he wouldn't be interested in knowing you
 9     agreement on all material terms relevant to the sale of         9   had received an offer just from a valuation standpoint?
10     Claim 5858; isn't that true?                                   10      A He would.
11        A You had too many negatives in there. Could                11      Q But you made the decision not to tell him
12     you repeat that, please?                                       12   about this offer in January of 2017. Isn't that your
13        Q Did Ms. Rosenblum ever tell you that Cowen                13   testimony?
14     believed it had not reached an agreement with you              14      A Yes.
15     concerning the material terms for the sale of Claim            15      Q So if the deal had concluded on or about
16     5858?                                                          16   January 18th when Ms. Rosenblum sent you an e-mail
17        A No, she did not.                                          17   saying you have until a specific time to respond or
18        Q So you send this e-mail off February 28th.                18   we'll consider the deal done, why did you inform Mr.
19     You hear nothing further from Cowen; is that correct?          19   Earl in February about the terms of this deal? Did
20        A Yes.                                                      20   you --
21        Q Okay. Did you take any further steps                      21      A Again, in January of 2018, this was a price
22     regarding this claim in March of 2017?                         22   that was established.
23        A With regard to this claim?                                23      Q And you meant January 2017 in your answer, not
24        Q Yes.                                                      24   January 2018.
25        A With regard to -- in what respects?                       25      A I did, right.


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 1        Q So -- but you inform -- did you inform Mr.                 1   out, you know, until later. I think he just said
 2     Earl in February of 2017 that you had received an offer         2   Whitebox said there was an interest in it.
 3     to purchase the claim for 2.15 million dollars?                 3      Q And who is Mr. Ortega?
 4        A I would have told Mr. Earl that in -- that                 4      A He is -- he deals in trading claims. He
 5     we -- that the value of the claim was in the                    5   called me at one point asking me if I was willing to
 6     neighborhood -- was worth in the neighborhood of 2.2            6   sell the claim.
 7     million dollars.                                                7      Q And do you know the date of -- the date on
 8        Q Did you believe that Cowen's offer to purchase             8   which Mr. Ortega called and asked if you were interested
 9     the claim for 2.15 million dollars was still good in            9   in trading the claim?
10     February of 2017?                                              10      A No, I do not.
11        A I assumed that if I went back to them and                 11      Q Do you believe it was in the spring of 2017?
12     started negotiations again, they would talk to me. I           12      A I don't recall.
13     know when I told Robert the number he wasn't interested,       13      Q Do you know whether you had conversations with
14     in February. When I did give him the amount, he wasn't         14   Mr. Ortega concerning the sale of the claim prior to
15     interested in doing anything at that level.                    15   January of 2017?
16        Q But the deal had already fallen apart by that             16      A I believe I did.
17     point in time; isn't that your testimony?                      17      Q And what makes you believe that you had
18        A The negotiations had fallen apart, yes.                   18   conversations with Mr. Ortega prior to January 2017?
19            MS. LEWIS-GRUSS: So it's 12:11. In the                  19      A I recall discussing early on, probably late in
20        interest of being able to come back on the record           20   '16 or sometime in '16 having some -- a conversation
21        for a little bit before you have to do your call, I         21   about the claim. And then just since I'm not
22        think it would be a good time to go to lunch.               22   involved -- I don't know people in the claim industry or
23            MR. CHUBAK: Okay.                                       23   people who trade claims of that nature. There was --
24            MS. LEWIS-GRUSS: And we can take that lunch             24   you know, he was a person who called me that I called
25        for 45 minutes. Is that enough time to get lunch?           25   back, again, curious about valuation and, you know, and


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 1            THE WITNESS: More than enough.                           1   what, you know, what the claim was, would he be
 2            MR. CHUBAK: Sounds good.                                 2   interested in it.
 3            THE VIDEOGRAPHER: Going off the record. The              3      Q And when Mr. Ortega contacted you, did you do
 4        time is 12:11 p.m.                                           4   any research to determine if he was a legitimate buyer
 5               (A 56-minute recess was had.)                         5   of claims?
 6            THE VIDEOGRAPHER: Going back on the record.              6      A No.
 7        The time is 1:07 p.m.                                        7      Q And at the time -- so do you believe that you
 8     BY MS. LEWIS-GRUSS:                                             8   first spoke to Mr. Ortega in late 2016?
 9       Q Good afternoon, Mr. Avallone. You testified                 9      A I believe so.
10     earlier that you had not heard that once you -- sorry.         10      Q And did you inform Mr. Ortega of a price at
11            You testified earlier that once you e-mailed            11   which you would be willing to trade Claim 5858?
12     Ms. Rosenblum at the end February 2017, you considered         12      A I did not.
13     the dispute with Cowen to be resolved; is that correct?        13      Q Did you inform Mr. Ortega that any sale of
14       A Yes.                                                       14   Claim 5858 would be subject to Mr. Earl's approval?
15       Q And it wasn't until sometime later that you                15      A Yes.
16     were notified by a third-party that Whitebox was               16      Q What form did that communication take place?
17     asserting that it had purchased the claim from Cowen; is       17      A By phone.
18     that correct?                                                  18      Q Did you inform Mr. Ortega that any sale of
19       A Yes.                                                       19   Claim 5858 would require you to determine how a sale
20       Q Do you recall who it was that told you                     20   would affect Earl of Sandwich's standing on the
21     Whitebox was asserting a claim that it had purchased           21   unsecured creditors committee?
22     Claim 5858 from Cowen?                                         22      A Yes.
23       A I believe that it was Alex Ortega, but he told             23      Q And did you inform Mr. Ortega of any other
24     me that Whitebox said that they had an interest. He            24   conditions that you would require before agreeing to
25     didn't mention Cowen until -- until later or I found           25   trade Claim 5858?


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 1        A Have to agree to terms and conditions having                    1   curious about?
 2     to do with the sale.                                                 2      A Just curious. Just curiosity.
 3        Q And did you ever put that in writing to                         3      Q And so did you believe that if Mr. Ortega said
 4     Mr. Ortega?                                                          4   that you would be able to close a sale quickly, that you
 5        A No.                                                             5   would have the necessary time to obtain all of the
 6        Q In any negotiation you've been involved with,                   6   approvals that were required prior to you finalizing a
 7     not limited to Claim 5858, have you ever put it in                   7   sale?
 8     writing that any -- that in order to execute an                      8      A Absolutely.
 9     agreement, you would first need to obtain the approval               9      Q And why did you believe that to be the case?
10     of Mr. Earl?                                                        10      A Because that's the only way I could do a deal.
11        A I'm sure I have. I can't give you a specific                   11      Q I'm sorry. I don't understand. So you had
12     instance, though.                                                   12   previously testified that it would take you a lengthy
13            (Avallone Exhibit No. 63 was marked.)                        13   amount of time to obtain the approvals necessary to
14        Q So, Mr. Avallone, you've now been handed                       14   complete the deal you were negotiating with Cowen, but
15     Exhibit 63, which bears the Bates stamps Earl 180 to                15   something -- did anything change between January of 2017
16     Earl 182. Do you have that in front of you?                         16   and June of 2017 so that in June 2017 you could obtain
17        A Yes.                                                           17   those approvals quickly, if necessary?
18        Q And is this a communication you had with                       18      A It was all dependent upon how fast we could
19     Mr. Ortega in June of 2017?                                         19   negotiate a purchase and sale agreement and get an
20        A (Reviewing document.) I'm sorry. What was                      20   approval from Mr. Earl.
21     the question? I just wanted to review the document                  21      Q And so in January of 2017 when you were
22     first.                                                              22   negotiating with Cowen, it would have been possible for
23        Q So in this e-mail, is there a communication                    23   you to quickly obtain approvals from Mr. Earl and to
24     that you had with Mr. Ortega in June of 2017?                       24   determine whether or not the sale would negatively
25        A Yes.                                                           25   impact Earl's standing on the unsecured creditors


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 1        Q And if we could start at the back of the                        1   committee if you had wanted to move quickly; isn't that
 2     document, which is actually the earliest e-mail in the               2   true?
 3     chain. Mr. Ortega reached out to you in May of 2017 and              3      A If I was -- if we were able to negotiate a
 4     asked if Earl has an offer at which it would execute a               4   satisfactory agreement, yes.
 5     sale. Do you see that?                                               5      Q So, in fact, there was no reason that you
 6        A Yes.                                                            6   couldn't have completed a deal if you had wanted to in
 7        Q And had you previously made an offer to                         7   January of 2017, at least with regard to timing?
 8     Mr. Ortega at which Earl would execute a sale?                       8          MR. CHUBAK: Objection, mischaracterizes
 9        A No.                                                             9      testimony.
10        Q And why do -- do you know why Mr. Ortega seems                 10      A The negotiations -- we could have finalized
11     to suggest that it would be Earl who would be making the            11   negotiations and come to a deal quickly if we wanted to,
12     offer?                                                              12   yes.
13        A No.                                                            13      Q And so Mr. Ortega writes you back on June 7th,
14        Q And you respond to him a few weeks later on                    14   and then on June 9th, which is two days after you ask
15     June 7th, 2017; is that correct?                                    15   him for a price, you ask him for his final and best
16        A Yes.                                                           16   offer; is that correct?
17        Q And you -- what did you ask Mr. Ortega?                        17      A Yes.
18        A What is the current price for the claim, for                   18      Q And did Mr. Ortega provide you with a final
19     the 3.6 million dollar claim, and how fast can we close             19   and best offer?
20     if I accept.                                                        20      A I don't recall.
21        Q And were you interested in closing quickly at                  21      Q Do you have reason to believe that he did?
22     the time that you sent this e-mail in June -- on June               22          MR. CHUBAK: Objection, asked and answered.
23     7th, 2017?                                                          23      A I -- I don't recall.
24        A I was curious about the timing.                                24      Q What terms would you expect Mr. Ortega to
25        Q And why was that something that you were                       25   include if he had presented you with a final and best


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 1     offer?                                                           1   that any sale would require you to first make sure that
 2        A Well, that would have been the starting point.              2   the sale would not negatively impact Earl of Sandwich's
 3     If it was something that I felt was reasonable that I            3   rights with regard to the unsecured creditors committee?
 4     could bring to Robert and I would be willing to bring to         4      A I'm not sure. I don't recall.
 5     Robert, that would start the process of getting the --           5      Q Do you have a -- as you sit here today, do you
 6     of negotiating a purchase and sale agreement and to              6   have a specific memory of telling Mr. Ortega in June of
 7     give -- to submit to Robert for his approval.                    7   2017 that there were any other conditioncies [sic] or
 8        Q Would the final and best offer include a price              8   necessary approvals required before you could complete a
 9     term?                                                            9   sale of Claim 5858?
10        A Yes.                                                       10          MR. CHUBAK: Objection. The document speaks
11        Q Would it include any other terms?                          11      for itself.
12        A The terms would be spelled out in the purchase             12      A Yeah, we'd have to have a mutual, agreeable
13     and sale agreement.                                             13   purchase and sale document.
14        Q And that agreement is something you would                  14      Q Is that something that you told Mr. Or -- that
15     negotiate after receiving the final and best offer;             15   you specifically recall telling Mr. Ortega in June 2017?
16     isn't that correct?                                             16      A I believe it was understood.
17        A Yes.                                                       17      Q Why do you believe it was understood?
18        Q And prior to asking Mr. Ortega for his final               18      A Because that's my understanding of how these
19     and best offer, did you inform him that any sale would          19   things operated. The purchase and sale agreement is
20     require the approval of Mr. Earl?                               20   required to lay out the terms of a sale.
21        A Yes.                                                       21      Q So that's based on just how you norm -- your
22        Q When did you inform Mr. Ortega of that?                    22   understanding of how business is done. It's not based
23        A It would have been either in my first                      23   on a specific conversation you had with Mr. Ortega; is
24     conversations with him, whenever that occurred. Like I          24   that correct?
25     said, I believe it was sometime in '16.                         25      A Not that I recall.


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 1        Q And would that have been something you                      1      Q And so in response to your June 9th e-mail
 2     reminded Mr. Ortega of when you spoke to him -- when you         2   asking for a final and best offer, Mr. Ortega asks you a
 3     communicated with him in June of 2017?                           3   day later "Were you by any chance able to speak to
 4        A Yes.                                                        4   Whitebox yesterday?" Do you see that?
 5        Q And how did you communicate -- by what form                 5      A Yes.
 6     did you communicate to Mr. Ortega in June of 2017 that           6      Q And did you speak to Whitebox?
 7     any sale would require Mr. Earl's approval?                      7      A I don't recall.
 8        A It would have been by phone.                                8      Q Do you recall ever having communications with
 9        Q And when did that phone call occur?                         9   an attorney by the name of Cindy DeLano?
10        A I do not recall.                                           10      A Vaguely, yes.
11        Q And how do you recall that you told Mr. Ortega             11      Q And do you recall reaching out to anyone at
12     in June of 2017 that any sale would require Mr. Earl's          12   Whitebox prior to that call to ask them what was going
13     approval if you don't recall anything else about that           13   on with Whitebox's stated interest in the claim?
14     phone call?                                                     14      A There was some conversations. I know I spoke
15        A Because it's something I mentioned to all the              15   to Whitebox. I don't recall exactly when.
16     claimants, again, in the effort to be -- for                    16      Q And did you -- how did you know who to contact
17     transparency, that, you know, the unsecured committee           17   at Whitebox?
18     and these other issues were all out there, and Robert's         18      A I got a contact information. I'm not sure
19     approval was important.                                         19   from whom I got it from. I'm not sure where I got that.
20        Q So as you sit here today, do you have a                    20      Q And so after you -- so -- so after you get
21     specific memory of telling Mr. Ortega in June 2017 that         21   this e-mail from Mr. Ortega saying were you by any
22     any sale would require Mr. Earl's approval?                     22   chance able to speak to Whitebox, you write him back and
23        A I don't have a specific number.                            23   you say -- what did you say to Mr. Ortega at that time
24        Q And as you sit here today, do you have a                   24   on June 10th?
25     specific memory of telling Mr. Ortega in June of 2017           25      A I said, "Yes, looks like there will be a


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 1     fight. Don't understand how they think the claim was               1      Q And did you tell your legal department that
 2     assigned. We never agreed a price and I never got owner            2   you had informed Cowen that any sale was contingent on
 3     approval."                                                         3   approval by Mr. Earl?
 4        Q And you didn't say in that e-mail that "I told                4          MR. CHUBAK: Objection, privileged.
 5     Cowen I always needed owner approval"; isn't that true?            5      A Yes.
 6        A That's true.                                                  6      Q Did you -- when you spoke to Whitebox, did you
 7        Q And you didn't say to Mr. Ortega, "I never                    7   tell the representatives of Whitebox that you had
 8     figured out how this claim would impact our standing on            8   informed Cowen that any sale of Claim 5858 was
 9     the unsecured creditors committee"; isn't that true?               9   contingent on Mr. Earl's approval?
10        A That is true.                                                10      A I don't recall.
11        Q And you didn't tell Mr. Ortega that there were               11      Q And when you spoke to Whitebox, did you tell
12     any other terms, contingencies or conditions precedent            12   the representatives of Whitebox that you had informed
13     that had not been met other than you never agreed on a            13   Cowen that any sale of Claim 5858 was contingent on a
14     price and you never got owner approval; isn't that                14   resolution of the issues concerning the unsecured
15     correct?                                                          15   creditors committee?
16        A Yeah.                                                        16      A I don't recall.
17        Q And what did you mean when you said you never                17      Q Did you -- when you spoke to Whitebox, did you
18     agreed on a price?                                                18   tell the representatives of Whitebox that you had not
19        A I think it was the overall terms. Just                       19   reached agreement as to the price of the sale of Claim
20     generally by "price," I meant overall terms. And,                 20   5858?
21     again, this was -- from a timing standpoint, this was             21      A I -- I don't recall the exact words, but I'm
22     six months after that. And based on my recollection of            22   sure I said that I never had an agreement with Cowen.
23     all the memos back then, we never really agreed. We               23   We never came to -- we never came to a deal. We were
24     were negotiating. We never really agreed on a final               24   still doing negotiations until they got broken off.
25     format.                                                           25      Q And going back to your communications with


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 1       Q But you had actually agreed on a dollar amount                 1   Mr. Ortega, you never put it in writing to Mr. Ortega --
 2     for the sale of the claim; isn't that true?                        2   scratch that. You know what? Let's move on. I think
 3       A We said there was a dollar amount -- yeah, I                   3   you've covered that question.
 4     believe there was a dollar amount that I would -- if               4           You testified earlier about sending an e-mail
 5     everything else, all the other issues were resolved,               5   to Barrett Mikelberg. When did you first communicate
 6     that I could bring to Robert, yes.                                 6   with Mr. Mikelberg?
 7       Q And Mr. Ortega reaches out to you again on                     7      A I don't recall. I'd have to look at --
 8     June 16th. Do you see that?                                        8      Q It's fine. I don't need an exact date. Do
 9       A Yes.                                                           9   you believe that you communicated with Mr. Mikelberg in
10       Q And you responded that same day; is that                      10   the fall of 2016?
11     correct?                                                          11      A I might have. I spoke to several parties that
12       A Yes.                                                          12   deal -- dealt in trade claims, and they called me and I
13       Q And you thanked him for bringing the issue to                 13   called them back, again, curious. He might have been
14     your attention?                                                   14   one of those. I -- I don't recall exactly when the
15       A Yes.                                                          15   first time was I spoke to him.
16       Q And you sent a demand letter to Cowen to make                 16      Q Mr. Avallone, I'm handing you what's been
17     them fix it?                                                      17   previously marked as Exhibit 26. Do you have that in
18       A Yes.                                                          18   front of you?
19       Q And did you draft the demand letter to Cowen?                 19      A Yes.
20       A No.                                                           20      Q And is this -- is it 25 or is it 26 that you
21       Q Who drafted that letter?                                      21   have in front of you?
22       A Our legal department.                                         22      A 26.
23       Q Did you consult with the legal department                     23      Q And is this an e-mail exchange that you had
24     concerning that letter?                                           24   with Mr. Mikelberg in the fall of 2016?
25       A Probably saw the copy of it the final form.                   25      A Yes.


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 1        Q And Mr. Mikelberg was a claims broker. Is                        1      A No.
 2     that a correct way to describe his role?                              2      Q And did you inform Mr. Earl that you had
 3        A I know he bought claims.                                         3   received these communications from Mr. Mikelberg in
 4        Q So he bought claims either in his personal or                    4   October 2016 concerning Claim 5858?
 5     corporate capacity. That was your understanding?                      5      A I don't think I would have spoken to him about
 6        A He was in the business. I don't -- I don't                       6   this specific claim other than to say I got an offer
 7     know what his --                                                      7   that was around 35, 40 cents a share, whatever number he
 8        Q And so he reached out to you in October of                       8   mentioned.
 9     2016 and asked if you'd be interested in selling your                 9      Q You would not have asked Mr. Earl in October
10     Caesars claim; is that accurate?                                     10   2016 for his approval to sell the claim at that offer?
11        A Yes.                                                            11      A No, because I wouldn't have recommended it. I
12        Q And you responded and you said -- you asked                     12   would have just informed him of the price.
13     him how much he would pay for your claim?                            13      Q So as you sit here today, do you have a
14        A Yes.                                                            14   specific memory of telling Brad Schwab on or about
15        Q And did you inform Mr. Mikelberg that any sale                  15   January 11th or January 12th, 2017, that any sale of
16     of the claim would be subject to Mr. Earl's approval?                16   Claim 5858 would require Mr. Earl's approval?
17        A Yes.                                                            17          MR. CHUBAK: Objection, asked and answered.
18        Q As you sit here today, do you have a specific                   18      A Yes.
19     memory of informing Mr. Mikelberg that any sale would be             19      Q And your memory is clear that that
20     subject to Mr. Earl's approval?                                      20   conversation happened on January 11th or January 12th,
21        A In the ph -- any phone conversation I had with                  21   2017?
22     him and I've stated our position, I would have told him              22      A Yes.
23     that selling of the claim required Mr. -- the owner's                23      Q And how is your memory clear with regard to
24     approval and especially at -- and how it affected the                24   the date on which that conversation happened given your
25     unsecured committee.                                                 25   inability to remember anything else about that


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 1        Q And do you specifically recall telling him                       1   conversation?
 2     that or is your testimony based on the fact that you                  2          MR. CHUBAK: Objection.
 3     believe you would have told him that?                                 3     A Well, just based on e-mail correspondence and
 4        A I told him that.                                                 4   dates when talked about we had, you know, phone calls or
 5        Q And on what date did you tell him that?                          5   discussions, that -- those dates appear correct.
 6        A I do not know.                                                   6     Q So you know you were communicating with
 7        Q And you only told him that by phone; is that                     7   Mr. Schwab in the period of January 11th and January
 8     correct?                                                              8   12th, 2017; isn't that true?
 9        A Yes.                                                             9     A Yes.
10        Q You never met with Mr. Mikelberg in person?                     10     Q But you know that you had a phone
11        A No.                                                             11   conversation -- and you know you had a phone
12        Q And you didn't tell Mr. Mikelberg that in                       12   conversation with him in that window. Is that your
13     e-mail -- you did not tell Mr. Mikelberg in any e-mails              13   understanding?
14     that any sale of Claim 5858 would have required Mr.                  14     A Yes.
15     Earl's approval and also an understanding of how the                 15     Q Do you know if you had any other conversations
16     sale would affect the unsecured creditors committee; is              16   with Mr. Schwab by phone on any other dates?
17     that accurate?                                                       17     A I'm not sure.
18        A Not in e-mail, no.                                              18     Q But it's your testimony under oath that you
19        Q And at some point you tell Mr. Mikelberg that                   19   specifically told Mr. Schwab on or about January 11th or
20     you're going to take the settlement instead. That's on               20   January 12th, 2017, that any sale would require Mr.
21     October 20th, 2016. Do you see that?                                 21   Earl's -- a sale of Claim 5858 would require Mr. Earl's
22        A Yes.                                                            22   approval?
23        Q And did you inform Mr. Mikelberg that the                       23     A I would have said owner's approval or my
24     reason you decided to take the settlement was because                24   boss's approval, something like that.
25     Mr. Earl had decided to take the settlement?                         25     Q And that's just because you just know that you


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 1     say that all the time when you were negotiating; isn't          1   going to find out whether or not it was transferable or
 2     that true?                                                      2   not or were we inside a window, and there were some
 3        A Yes.                                                       3   things she was doing, and whether or not -- what was the
 4        Q But you don't actually know that you said it               4   status of the claims and asked, you know, asked me
 5     to Mr. Schwab on or about January 11th or January 12th,         5   can -- you know, about just the validity of the claims
 6     2017?                                                           6   and what other information was available.
 7        A No, I --                                                   7      Q Do you recall what time of day that call took
 8            MR. CHUBAK: Objection, mischaracterizes his              8   place during? Do you recall what time of day that call
 9        testimony, asked and answered.                               9   took place in?
10        A Yeah, I told --                                           10      A No.
11        Q What else --                                              11      Q Do you recall which date it occurred on?
12        A -- Mr. Schwab.                                            12      A Not without looking or trying to find
13        Q What else did you tell Mr. Schwab on that                 13   documents.
14     phone call?                                                    14      Q Do you recall where you were when you had that
15        A Again, I don't know the specifics, but we                 15   conversation with Ms. Rosenblum?
16     would have discussed the timing. We would have -- we           16      A Not -- no.
17     would have discussed the possible, you know, when they         17      Q And do you recall where you were when you
18     were merging and timing.                                       18   spoke to Mr. Schwab on or about January 11th or January
19        Q And what did Mr. Schwab say to you on                     19   12th, 2017?
20     the con -- in the conversation you had with him on or          20      A I can't say for certain.
21     about January 11th or January 12th, 2017?                      21      Q Have you ever sold any other bankruptcy claim?
22        A I don't recall.                                           22      A I was -- never sold a claim, but there was a
23        Q Do you recall anything that Mr. Schwab said to            23   claim that we had a couple of years ago from Kodak that
24     you in that conversation?                                      24   I know our chief financial officer and VP of finance had
25        A I didn't think it was relevant.                           25   gotten some indications of interest about buying the


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 1        Q And did you have -- as you sit here today, do              1   claim. And sitting here I can't tell you whether or not
 2     you have a specific memory of telling Ms. Rosenblum that        2   it was actually sold or not. I actually did see a
 3     any sale of Claim 5858 could not be completed until you         3   document for selling a claim, but whether that was ever
 4     had obtained Mr. Earl's approval?                               4   negotiated or signed I don't -- I can't tell you.
 5            MR. CHUBAK: Objection, asked and answered.               5      Q And did you review that document so that you
 6        A Yes.                                                       6   could approve it? Did you review the document that you
 7        Q What are the circumstances of that                         7   mention with regard to the Kodak claim?
 8     conversation? What do you remember about them?                  8      A I read the document. I didn't review it. I
 9        A It would have been surrounding the -- her                  9   did read it. And if it went any further, they would
10     sending me the agreement and me seeing what needed to be       10   have sent it back over to legal.
11     done, what information I needed, and, again, how it            11      Q And you don't know whether it was sent to
12     affected my relationship with the unsecured creditors          12   legal?
13     committee because that was very important.                     13      A I don't know if we pursued it. I don't even
14        Q And so you said one of the top things you                 14   remember what the -- what the dollar amount was.
15     discussed is what information was needed. What                 15      Q And were -- who is Earl Enterprises's CFO
16     information did you tell Ms. Rosenblum you needed from         16   currently?
17     her regarding the sale of Claim 5858?                          17      A Earl Enterprises, again, isn't an entity, but
18        A A mutual -- mutually agreeable purchase and               18   the CFO is Bruce Hawkins.
19     sale agreement.                                                19      Q So you're the vice chairman of Earl
20        Q So that's a document, not information. Was                20   Enterprises, but Earl Enterprises is not an entity?
21     there any information that you required from                   21      A There you go.
22     Ms. Rosenblum that you specifically recall asking her          22      Q But are Earl Enter --
23     for?                                                           23      A He would refer to himself as the CFO of Earl
24        A No. But I think she asked me for some                     24   Enterprises to encompass the group (indicating), but his
25     information about the claims and whether -- and she was        25   official title is CFO of Planet Hollywood and most of


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 1     these other entities as well. Makes for very long                 1   arranged with various bond holds that we had. It wasn't
 2     business cards.                                                   2   a prepack, but it was a prearranged bankruptcy, so we
 3        Q Was Mr. Hawkins -- did Mr. Hawkins have any                  3   were -- we sort of knew going in what the -- what the
 4     involvement in considering whether or not to sell Claim           4   recoveries was going to be. And Mr. Earl was able to
 5     5858?                                                             5   raise some money from some existing stockholders, and
 6        A No. He wasn't involved other than he                         6   family trust put in some money. And then there's just
 7     actually -- some people had contacted him, and he                 7   the overall administration of the -- of the bankruptcy
 8     forwarded maybe a couple of names or gave names or I              8   reporting.
 9     told him to have so-and-so call me or whatever about the          9      Q Did it take up a substantial amount of your
10     claim.                                                           10   day-to-day work when they were ongoing?
11        Q And who is the VP of finance of Planet                      11      A Ongoing bankruptcies? Yeah, I mean, there's a
12     Hollywood International?                                         12   lot more additional -- there's a lot of additional work.
13        A Yeah, Richard Olgee.                                        13      Q Did you inform the financial advisors for the
14        Q And that's O-L-G-E-E?                                       14   Planet Hollywood bankruptcies that you were required to
15        A Yes.                                                        15   bring all decisions to Mr. Earl for his approval?
16        Q And was Mr. Olgee involved in --                            16      A They knew that.
17        A No, not at all.                                             17      Q How did they know that?
18        Q Can I ask my question just so the record's                  18      A Mr. Earl told them.
19     clear?                                                           19      Q And did Mr. Earl tell them that in writing?
20        A Certainly.                                                  20      A I have -- I don't know.
21        Q Was Mr. Olgee involved in any discussions                   21      Q Have you ever seen a writing from Mr. Earl to
22     concerning the sale of Claim 5858?                               22   his financial advisors in the Planet Hollywood
23        A No.                                                         23   bankruptcy in which he stated that you were required to
24        Q Was anyone -- who would you say were the                    24   bring all decisions to his attention for approval?
25     people at Planet Hollywood International who were                25      A No.


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 1     involved in the decision of whether to sell Claim 5858?           1      Q Do you continue to deal with financial
 2        A It would only be myself to sort of gather the                2   advisors for the group of companies referred to as Earl
 3     information and get all the terms right and then Mr.              3   Enterprises today?
 4     Earl to make the ultimate decision.                               4      A Could you repeat that?
 5        Q Have you ever purchased a bankruptcy claim?                  5      Q Does Earl Enterprises have financial advis --
 6        A Never.                                                       6   outside financial advisors?
 7        Q Have you ever dealt with outside advisors                    7      A Occasionally we talk to financial advisors.
 8     concerning potential purchases or sales of bankruptcy             8      Q And do you talk to those financial advisors
 9     claims?                                                           9   directly?
10        A Not that I recall.                                          10      A Yes.
11        Q You stated at the beginning of the day that                 11      Q And have you informed those financial advisors
12     Planet Hollywood International has filed for bankruptcy          12   that any decision must be approved by Mr. Earl?
13     twice?                                                           13      A Absolutely.
14        A Yes.                                                        14      Q And what form does that communication take
15        Q And would you say that you were involved in                 15   place in?
16     those bankruptcies?                                              16      A With the financial advisors.
17        A Yes.                                                        17      Q So did you tell the financial advisors in
18        Q What was your involvement in those                          18   writing that any decision you make has to be --
19     bankruptcies?                                                    19      A No.
20        A Well, I was the CFO at the time, so, you know,              20      Q -- approved by Mr. Earl?
21     I would be res -- I was responsible for, you know,               21      A No. When we engage -- again, this is the way
22     filing whatever documents needed to be filed with the            22   we've been operating for 30 years. We engage a
23     courts. It was a prearranged bankruptcy that our                 23   professional. We engage somebody -- you know, I would
24     advisors at the time -- I'm trying to think of who they          24   talk to them. Robert Earl's the owner. He's got the
25     were. I can't think of their name -- but sort of                 25   vested interest in the business, you know. And


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 1     especially in the financial area, it would be Mr.                1   business, the shareholders, and in this case, it's
 2     Earl -- we can talk about it, but let's get Mr. Earl's           2   Robert Earl.
 3     comments and let's get his -- it's his decision.                 3          So, you know, while the authority on the
 4       Q And does that happen in writing or in oral                   4   documents gives me permission to sign papers and do all
 5     communications of some sort?                                     5   these other things, we just don't operate that way. I
 6       A An understanding -- I would say oral                         6   wouldn't do anything unless I had Mr. Earl's approval if
 7     communications and understanding.                                7   I thought there was a -- you know, if there's something
 8        Q And is that memorialized in any agreements                  8   that was contentious or just anything -- anything -- any
 9     that you have with your financial advisors?                      9   major decision.
10       A No.                                                         10      Q And do you tell third-parties that you do not
11       Q And you said you've been doing business this                11   act in accordance with the authority granted to you by
12     way for 30 years; is that correct?                              12   the corporate documents of Earl of Sandwich (Atlantic
13       A Yes.                                                        13   City), LLC?
14       Q And Planet Hollywood International is                       14          MR. CHUBAK: Objection, argumentative.
15     currently not a public company; is that correct?                15      A No.
16       A Correct.                                                    16      Q When were you appointed to serve on secured
17       Q And Planet Hollywood International at some                  17   creditors committees --
18     point in the last 30 years was a public company?                18      A Yes.
19       A Yes.                                                        19      Q -- for the Caesars bankruptcy?
20       Q And it's particularly important when you are a              20      A January, if I get the year right, '15.
21     public company to follow corporate formalities; isn't           21      Q And do you currently serve -- well, when did
22     that correct?                                                   22   you -- when -- when did your service on the unsecured
23       A Yes.                                                        23   creditors committee come to an end?
24       Q And also particularly important when you are a              24      A I -- I technically think it ended just a
25     public company to make sure the market understands the          25   little while ago, a month or so ago, maybe.


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 1     roles and responsibilities of corporate officers; isn't          1      Q And did you attend meetings in person?
 2     that correct?                                                    2      A Yes.
 3        A Yes.                                                        3      Q And how often were those meetings held?
 4        Q And even though you're no longer a public                   4      A In-person meetings were infrequent. We
 5     company, I'm sure that Earl -- that it's correct that            5   probably had maybe two or three a year. But we had --
 6     Earl Enterprises endeavors to abide by all of its                6   for the majority of the bankruptcy, we had meetings
 7     corporate organizational documents at all times; isn't           7   twice a week. We had conference calls twice a week
 8     that correct?                                                    8   for -- for most of 2015 and a good portion of '16. Or
 9        A Yes, with the understanding that Mr. Earl,                  9   wait. Let me get my dates right. I don't know. I
10     whether he has the formal title or not, is the                  10   mean, it's -- whether it was '15 or '16, but for a year
11     president, CEO, chairman of the board, ultimate owner or        11   and a half, two years, there was lots of meetings.
12     looking after for his kids. His family -- he and his            12      Q Did you inform the members of the unsecured
13     family are the beneficiary or the owners of the company,        13   creditors committee for the Caesars bankruptcy that any
14     and, you know, he will make the decisions that are best         14   decisions needed to -- before you could make any
15     for his family.                                                 15   decisions, you needed to obtain Mr. Earl's approval?
16        Q So is it your testimony under oath that the                16          MR. CHUBAK: Objection.
17     corporate document of companies doing business under the        17      A The decisions I made on the -- in the -- as a
18     Earl Enterprises banner are inaccurate?                         18   member of the unsecured creditors committee to the
19            MR. CHUBAK: Objection, mischaracterizes                  19   extent it didn't really affect the businesses owned by
20         testimony.                                                  20   Robert Earl. But that being said, I did -- you know,
21        A I'm saying there's certain authorities that                21   when there was the -- I did discuss with Mr. Earl, you
22     are laid out on the corporate documents. But, you know,         22   know, what was going on the day-to-day what was going on
23     even, you know, as president, manager, whatever I am of         23   with the bankruptcy.
24     all these entities, I am still very aware that my               24      Q Again, my question was did you inform the
25     ultimate responsibility is to the owners of the                 25   members of the unsecured creditors committee for the


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 1     Caesars bankruptcy that before you could make any                   1      That fine.
 2     decisions, you needed to obtain Mr. Earl's approval?                2         THE VIDEOGRAPHER: Going off the record. The
 3        A No.                                                            3      time is 1:55 p.m.
 4             MR. CHUBAK: We're seven minutes from 2:00                   4            (A 30-minute recess was had.)
 5        p.m.                                                             5         THE VIDEOGRAPHER: Please stand by. Going
 6             MS. LEWIS-GRUSS: I think I can do this pretty               6      back on the record. The time is 2:21 p.m.
 7        quickly.                                                         7   BY MS. LEWIS-GRUSS:
 8             (Avallone Exhibit No. 64 was marked.)                       8      Q Good afternoon, Mr. Avallone. Did you ever
 9     BY MS. LEWIS-GRUSS:                                                 9   speak -- did you ever speak to anyone at the law firm
10        Q Mr. Avallone, do you have what's been marked                  10   known as Proskauer about whether or not sale of Claim
11     Exhibit 64 bearing the Bates stamp Earl 27?                        11   5858 would impact Earl's standing on the unsecured
12        A Yes.                                                          12   creditors committee?
13        Q This document was produced by your counsel in                 13      A Yes.
14     this litigation. Is this an e-mail that you received               14      Q When did those conversations occur?
15     from Mr. Hawkins?                                                  15      A I don't recall when it occurred.
16        A Yes.                                                          16      Q Do you believe that you had conversations
17        Q And you've testified Mr. Hawkins is CFO of                    17   with -- well, first of all, who at Proskauer did you
18     Planet Hollywood International?                                    18   speak to?
19        A Yes.                                                          19      A Vincent Indelicato.
20        Q And was there -- and Mr. Hawkins was                          20      Q And do you believe that you spoke to
21     forwarding you contact information for two people at               21   Mr. Indelicato in January of 2017 regarding the question
22     Cowen & Company. Do you see that?                                  22   of whether the sale of Claim 5858 would impact Earl of
23        A Yes.                                                          23   Sandwich's standing on the unsecured creditors
24        Q And why did Mr. Hawkins forward you the                       24   committee?
25     contact information for these two individuals?                     25      A I don't recall the date.


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 1        A I don't recall.                                                1      Q Do you have a reason to believe that it did
 2        Q Did you ask him to?                                            2   not occur in January of 2017?
 3        A I might have said, "Do we know anyone at                       3      A I don't recall the date.
 4     Cowen?" I said I deal with -- Gavin O'Reilly was a                  4      Q Is there anything that would help you remember
 5     market -- you know, is on the investment banking. These             5   what season that conversation occurred in?
 6     guys are maybe on the lending side. I don't -- you                  6      A Not that I can think of.
 7     know, we just wanted to keep a relationship.                        7      Q And in what form did those communications
 8        Q So you don't think that this e-mail was in any                 8   occur?
 9     way connected to the dispute that we're here to talk                9      A A phone call.
10     about today?                                                       10      Q And did you ever exchange e-mails with
11        A I might have asked them who do we know at                     11   Mr. Indelicato at any point in time concerning the
12     Cowen, and those are the names he gave me.                         12   issues surrounding the potential sale of Claim 5858?
13        Q And did you speak with Mr. Lauria or                          13      A I don't recall.
14     Mr. Viola?                                                         14      Q And do you recall what Mr. Indelicato told you
15        A I do not recall.                                              15   about whether a sale of Claim 5858 would impact Earl of
16        Q Do you have a reason to believe that you did                  16   Sandwich's standing on the unsecured creditors
17     speak to either of those individuals --                            17   committee?
18        A I -- I don't recall --                                        18      A Yes.
19        Q -- as you sit --                                              19      Q What did Mr. Indelicato tell you?
20        A -- either of these names as I sit here.                       20      A If I sold the claim and I was no longer a
21        Q As you sit here today, do you recall speaking                 21   creditor, I could no longer sit on the committee.
22     to anyone at Cowen in July of 2017?                                22      Q And when did Mr. Indelicato tell you that?
23        A Not -- not right now. No, not off the top of                  23      A I don't recall.
24     my head.                                                           24      Q And do you believe that you had had that
25           MS. LEWIS-GRUSS: We can break for your call.                 25   conversation with Mr. Indelicato prior to the time you


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 1     discussed a potential sale of the claim with Cowen                     1   legal document, you know, it's retained in a file over
 2     Special Investments?                                                   2   at legal. I very rarely print out any e-mails or
 3        A No.                                                               3   anything of that nature.
 4        Q And do you believe that you had had that                          4           Reports and financial statements and things of
 5     conversation with Mr. Indelicato prior to the time                     5   that I keep for a short period of time and then discard
 6     during the spring of 2017 when you discussed the                       6   them. I have some historical financial information as
 7     potential sale of the claim with Alex Ortega?                          7   far as, you know, bound copies of audit reports I keep.
 8        A No.                                                               8      Q Do you maintain a calendar, a handwritten
 9        Q Did you tell Mr. Indelicato in January 2017                       9   calendar?
10     that any sale of the claim known as Claim 5858 would                  10      A No.
11     require Mr. Earl's approval?                                          11      Q Do you maintain any notation system that you
12        A No.                                                              12   can --
13        Q Did you tell Mr. Indelicato at any point in                      13      A I keep a "to do" list sheet that I do, and
14     time that any sale of Claim 5858 would require                        14   occasionally when I need to meet with Robert, I'll list
15     Mr. Earl's approval?                                                  15   things to talk about and work on. But, you know, once
16        A No.                                                              16   it's filled up, I throw it out and start the next list.
17        Q Are you familiar with the term "litigation                       17      Q Do you know whether your secretary maintains
18     hold"?                                                                18   your calendar?
19        A Yes.                                                             19      A She does not.
20        Q What do you understand that term to be -- to                     20      Q Do you maintain your calendar on electronic
21     refer to?                                                             21   form?
22        A Generally, I get a letter from an attorney                       22      A I do.
23     saying that there's litigation, possible litigation, and              23      Q Do you know whether the files of your
24     don't destroy any e-mails or -- of the nature.                        24   secretary were searched for responsive documents?
25        Q And did you receive a litigation hold with                       25      A I don't recall.


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 1     regard to the present action?                                          1      Q And your secretary's first name is Lori; is
 2        A I don't recall.                                                   2   that correct?
 3        Q So would it be fair to say that you don't know                    3      A Yes.
 4     the date on which you would have received a litigation                 4      Q And I apologize for not knowing her last name.
 5     hold in this action?                                                   5      A Connell.
 6        A I don't recall, yeah.                                             6      Q Lori Connell. Okay. Do you know whether
 7        Q Did you do anything to collect documents in                       7   Mr. Hawkins's files were searched for responsive
 8     this action?                                                           8   documents?
 9        A Well, I think as part of the request I went                       9      A I don't -- I don't know.
10     through certain of my files and discussed with the legal              10      Q Do you know if anyone other than you and
11     counsel, and they instructed the IT department to                     11   Mr. Earl were asked to search for responsive documents?
12     download all of my e-mails and, you know, performed the               12      A I don't know, but I can't think of anybody
13     search of the database.                                               13   else who would have any documents that would be
14        Q Do you maintain hard copy records of any sort?                   14   responsive.
15        A Some documents.                                                  15      Q But Mr. Hawkins did receive inquiries from
16        Q What types of documents do you maintain in                       16   potential purchasers of Claim 5858; isn't that true?
17     your hard copy files?                                                 17      A Yes.
18        A Me personally or me acting as a corporate                        18      Q And you testified that you reviewed some
19     representative?                                                       19   documents in preparation for today's deposition; is that
20        Q That's a fair question. You personally, what                     20   correct?
21     hard copy records do you maintain in connection with                  21      A Yes.
22     your business?                                                        22      Q Did you review a litigation hold in connection
23        A I try not to keep paper. You know, there's                       23   with preparation for today's deposition?
24     certain originals of -- well, it depends. I can't think               24      A No, I did not.
25     of anything offhand, but, you know, typically, if it's a              25          MS. LEWIS-GRUSS: Well, I think that we can


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                                                                     1                       CERTIFICATE OF REPORTER
 1      conclude today's portion of your deposition subject
                                                                     2   STATE OF FLORIDA:
 2      to any questions that your counsel wants to ask and
                                                                     3   COUNTY OF ORANGE:
 3      my right to ask follow-up questions.
                                                                     4         I, LAURA J. LANDERMAN, R.M.R., C.R.R., F.P.R., do
 4         MR. CHUBAK: Let's talk. Let's go off the
                                                                     5   hereby certify that I was authorized to and did
 5      record for a moment.
 6         THE VIDEOGRAPHER: Going off the record. The
                                                                     6   stenographically report the foregoing deposition of

 7      time is 2:30 p.m.                                            7   THOMAS AVALLONE; that a review of the transcript was

 8             (A 1-minute recess was had.)                          8   requested; and that the foregoing transcript, pages 1

 9         THE VIDEOGRAPHER: Going back on the record.               9   through 141, are a true and complete record of my

10      The time is 2:31 p.m.                                       10   stenographic notes.
11         MS. LEWIS-GRUSS: I understand, Mr. Avallone,             11              I FURTHER CERTIFY that I am not a relative,

12      that your counsel is not going to ask you any               12   employee, attorney or counsel of any of the parties, nor

13      questions during this deposition. Whitebox                  13   am I a relative or employee of any of the parties'
14      reserves its right to continue this deposition upon         14   attorneys or counsel connected with the action, nor am I

15      production of any additional documents relevant to          15   financially interested in the outcome of the action.
16      the claims at issue today. That being said, I               16
                                                                                Signed this 22nd day of January, 2018.
17      thank you very much for your time, and I hope you           17
18      have a good remainder of your day.                          18
19         THE WITNESS: Thank you very much and have a              19             ___________________________________________
                                                                                    LAURA J. LANDERMAN, R.M.R., C.R.R., F.P.R.
20      safe flight back.                                           20
21         THE VIDEOGRAPHER: This concludes the                     21
22      video-recorded deposition of Thomas Avallone. The           22
23      time is 2:32 p.m. We are off the record.                    23
24         THE REPORTER: Do you want this typed up?                 24
25         MS. LEWIS-GRUSS: Yes.                                    25

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                                                                     1                        CERTIFICATE OF OATH
 1         THE REPORTER: Do you want a copy?
                                                                     2 STATE OF FLORIDA
 2         MR. CHUBAK: Yes.
                                                                     3 COUNTY OF ORANGE:
 3         THE REPORTER: And rough drafts for both of
                                                                     4        I, LAURA J. LANDERMAN, R.M.R., C.R.R., F.P.R.,
 4      you?
                                                                     5 Notary Public, State of Florida at Large, do hereby
 5         MS. LEWIS-GRUSS: Yes.
 6         MR. CHUBAK: Yes, please.
                                                                     6 certify that THOMAS AVALLONE personally appeared before
 7       (The proceedings were concluded at 2:35 p.m.)               7 me this 10th day of January and was duly sworn/affirmed.
 8                                                                   8
 9                                                                   9       WITNESS my hand and official seal this 22nd day of

10                                                                  10 January, 2018.
11                                                                  11
12                                                                  12 Identification:       Professionally known
13                                                                  13
14                                                                  14
15                                                                  15
16                                                                  16
17                                                                  17
18                                                                  18            __________________________________________
19                                                                  19            LAURA J. LANDERMAN, R.M.R., C.R.R., F.P.R.
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